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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NEW YORK



MARK MILITELLO, individually and
on behalf of all others similarly situated,
                                              Case No. ________________________
             Plaintiff,

      v.
                                              CLASS ACTION COMPLAINT
FORD MOTOR COMPANY,
                                              DEMAND FOR JURY TRIAL
                          Defendant.
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      The allegations herein are based on personal knowledge as to Plaintiff’s own

conduct, and are made on information and belief as to all other matters based on an

investigation by counsel: 1

I.    INTRODUCTION

      1.     In modern vehicles, including the Class Vehicles (defined below), the

useful life of the engine is well over 150,000 miles. Ford Motor Company (“Ford”

or “Defendant”) represents that the internal water pumps installed within the engines

of the Class Vehicles should last for the useful life of the engines without the need

for any service, maintenance, or repair. Indeed, Ford omits the water pump from the

service and maintenance schedules, which identify any vehicle components that

need to be maintained, repaired, or replaced within the first 150,000 miles of

operation. Not only does Ford represent that the water pump will not need to be

serviced or maintained, but the internal location of the water pump in the engine

conceals it from view and inspection when other routine service is being performed

on the Class Vehicles (defined below).

      2.     Despite knowing for more than a decade that its vehicles incorporating

the Ford Cyclone Engine, branded as the Duratec engine (the “Cyclone Engine”),


1
  Counsel’s investigation includes an analysis of publicly available information,
including consumer complaints to the National Highway Traffic Safety
Administration (“NHTSA”) and additional analysis. Plaintiff believes that a
reasonable opportunity for discovery will provide further support for the claims
alleged herein.

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contain a defect in design (the “Water Pump Defect” or “Defect”) that can cause the

internal chain-driven water pump (“Internal Water Pump”) to prematurely fail well

before the end of the useful life of the engine, leading to a costly replacement or

catastrophic engine failure due to the water pump’s placement inside the engine

block. Ford failed to disclose the Water Pump Defect to consumers or fix the Defect

and instead, concealed it.

      3.     Beginning in 2007 and through at least 2020, Ford has incorporated the

Cyclone Engine, containing an Internal Water Pump with the Defect into thousands

of vehicles (the “Class Vehicles”). Unbeknownst to purchasers of the Class Vehicles

at the time of purchase, the Class Vehicles contain the Water Pump Defect.

      4.     Plaintiff Mark Militello (“Plaintiff”) brings this class action against

Ford, individually and on behalf of all persons in New York who purchased a Class

Vehicle from an authorized Ford dealer, asserting claims on behalf of the New York

Class (defined below, and also referred to as the “Class”) for violation of the New

York consumer protection statutes, N.Y. Gen. Bus. Law §§ 349-350 et seq., breach

of implied warranty, and common law fraud.

      5.     The Cyclone Engine Internal Water Pump is a chain-driven water

pump, which means the timing chain is connected to the water pump and provides

the power the water pump needs to circulate coolant through the engine when the

engine is running.


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      6.     The chain-driven Internal Water Pump in the Class Vehicles is located

internal to the Cyclone Engine, behind numerous engine components, including the

timing chain cover. Because of this, it is hidden from view, even during other routine

maintenance or service, within the engine compartment, and is extremely time-

consuming and expensive to repair or replace—over $1,500.

      7.     Moreover, due to its placement, the Internal Water Pump cannot be

inspected in a routine, cost-effective manner. In order to access the Internal Water

Pump, a mechanic must remove the passenger front wheel fender liner, coolant

reservoir, air filter box, throttle body, intake manifold, ignition coils, valve covers,

engine mount and bracket, AC compressor belt, AC drive tensioner, power steering

pump, crank shaft pulley, and timing cover. The Internal Water Pump is located

behind the timing cover. Consequently, disassembling the engine and components

to gain access to the Internal Water Pump—and then later reassembling the vehicle

and components—requires approximately eight (8) hours of labor and the

replacement of several gaskets and seals. As such, conducting even just a basic,

visual inspection can cost nearly $1,000.

      8.     Additionally, the location of the water pump in the Cyclone Engine is

in line with the crankshaft and over the main body of the engine. As a result of this

location and the Water Pump Defect, coolant is able to leak from the water pump

into the oil pan, allowing it to mix with the engine’s oil. This mixture of engine oil


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and coolant circulates throughout the engine, often leading to destruction of the

engine, as numerous Class Vehicle purchasers have reportedly experienced.

      9.     Plaintiff and members of the New York Class relied on Ford’s

representation and had a reasonable expectation that the Internal Water Pump in the

Class Vehicles did not require costly maintenance, service, repair, or replacement

before the vehicles were driven at least 150,000 miles.

      10.    Ford did not disclose the Defect or that Class Vehicles may suffer a

sudden Internal Water Pump failure that poses significant safety risks when the Class

Vehicles suddenly become inoperable due to catastrophic engine failure, nor are they

warned that due to the relatively inaccessible location of the Internal Water Pump in

the engine, the cost to repair or replace the defective Internal Water Pump is

significant, even in situations where the entire engine is not destroyed.

      11.    Upon information and belief, Ford worked in conjunction with Mazda

Motor of America, Inc. d/b/a Mazda North American Operations (“Mazda”) with

respect to the design, engineering, development, and/or testing of the Cyclone

Engine. In fact, Mazda also incorporated the Cyclone Engine into some of its own

vehicles, under the brand name MZI.

      12.    Based on pre-production testing, design failure mode analysis,

manufacturing principles, warranty claims and consumer complaints to Ford, its

dealers, NHTSA, and/or Mazda, inter alia, Defendant was aware of the Water Pump


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Defect in the Class Vehicles, but concealed the Defect from Plaintiff and members

of the New York Class. Indeed, despite being aware of the Defect and numerous

complaints, Ford knowingly, actively, and affirmatively omitted and/or concealed

the existence of the Water Pump Defect to increase profits by selling additional Class

Vehicles at inflated prices and by unlawfully transferring the cost of repair or

replacement of the Internal Water Pump and damaged engine parts to Plaintiff and

members of the New York Class. Ford created its unconscionable warranties,

including the durational limits, to transfer this cost of repair or replacement to

Plaintiff and members of the New York Class, with the knowledge that the majority

of Internal Water Pump failures would occur outside of the durational limits of the

warranties.

      13.     Knowledge and information regarding the Water Pump Defect and the

associated safety risk was in the exclusive and superior possession of Defendant, its

partner Mazda, and their authorized dealers, and was not provided to Plaintiff and

members of the New York Class, who could not reasonably discover the Defect

through due diligence. To be sure, despite Defendant’s knowledge, Ford continued

selling defective vehicles, has failed to disclose the existence of the Water Pump

Defect to Plaintiff and members of the Class or its associated safety risk, has not

issued a recall, and has not remedied the Defect and/or compensated Class Vehicle

purchasers for this material Defect.


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      14.    No reasonable consumer expects to purchase a Class Vehicle that

contains a concealed Water Pump Defect which creates the safety hazards and

significant monetary losses detailed herein. The Water Pump Defect is material to

Plaintiff and members of the New York Class because when they purchased their

Class Vehicles, they reasonably expected that the Class Vehicles would be free from

known, undisclosed defects. Plaintiff and New York Class members also reasonably

expected the Class Vehicles were free from the Water Pump Defect given the fact

that Ford did not disclose the Defect or the significant costs consumers must incur

to inspect, service, or maintain the Internal Water Pumps within the normal expected

useful life of the Class Vehicles to avoid water pump failure or catastrophic engine

failure. Had Defendant disclosed the Water Pump Defect, Plaintiff and members of

the New York Class would not have purchased the Class Vehicles, or would have

paid less for their Class Vehicles.

      15.    Indeed, the Water Pump Defect presents a significant safety risk for

Plaintiff and members of the New York Class because the water pump may suddenly

and unexpectedly fails, potentially causing catastrophic engine failure. When this

happens, the Class Vehicles lose engine power, including the ability to accelerate,

maintain speed, readily control steering, and/or fully engage the brakes. Thus,

drivers and occupants of the Class Vehicles are at risk for serious accidents as a




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result of Defendant’s failure to disclose the existence of the Water Pump Defect and

its corresponding safety risk.

      16.     This hazardous Defect has resulted in numerous complaints to NHTSA.

For example, many Ford customers have reported sudden engine failure while

driving as a result of the Water Pump Defect, leading to dangerous on-road

situations.

      17.     Defendant provides warranty coverage for Class Vehicles under one or

more unconscionable warranties. For illustrative purposes, Defendant currently

offers New Vehicle Limited Warranty coverage for Class Vehicles sold under the

Ford brand—and did the same for Class Vehicles sold under the Mercury brand until

the brand was discontinued—for 3 years or 36,000 miles and offers extended

warranty coverage for Powertrain components for 5 years or 60,000 miles. 2

      18.     Defendant breached its implied warranties, through which it promised

to, inter alia, provide Class Vehicles fit for the ordinary purpose for which they were

sold. Because the Water Pump Defect was present at the time of sale of the Class

Vehicles and was concealed from Plaintiff and members of the New York Class,



2
 See, e.g., Exhibit A (Ford Cars and Trucks 2018 Model Year Warranty Guide);
Exhibit B (Mercury 2009 Model Year Warranty Guide). For the Class Vehicles sold
under the Lincoln brand name, Defendant has provided New Vehicle Limited
Warranty coverage for the Class Vehicles for 4 years or 50,000 miles and extended
warranty coverage for Powertrain components for 6 years or 70,000 miles. See
Exhibit C (Lincoln 2012 Model Year Warranty Guide).

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Ford failed to meet this obligation. Class Vehicles containing the Defect are not fit

for their intended purpose: to provide safe and reliable transportation.

      19.    Furthermore, given the latent nature of the Water Pump Defect,

Defendant knew that the majority of Internal Water Pump failures likely would occur

outside of the warranty periods, and has intentionally and wrongfully transferred the

significant costs of repair or replacement to Plaintiff and members of the Class

through its unconscionable durational warranty limits and fraudulent concealment

of the Defect. These costs are significant and range in the thousands of dollars. No

reasonable consumer expects to incur such costs during the useful life of the engine,

especially given Defendant’s representations in the maintenance schedules provided

to Class Vehicle purchasers, which do not include the Internal Water Pumps. In light

of the substantive and procedural unconscionability of Ford’s warranties,

Defendant’s attempt to enforce warranty terms and/or durational limitations against

Plaintiff and the New York Class is unconscionable.

      20.    As a result of the Water Pump Defect and the placement of the water

pump internal to the Cyclone Engine, repair or replacement of the water pump can

lead to Plaintiff and Class members being forced to pay over $1,500 for replacement

of the water pump alone, or as much as $9,000 to replace a destroyed engine.

      21.    Plaintiff and members of the New York Class did not receive the benefit

of their bargain as a result of Ford’s misconduct and overpaid for Class Vehicles


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with the undisclosed Defect. As a direct result of Defendant’s unlawful conduct,

Plaintiff and members of the Class have been harmed and are entitled to, inter alia,

actual damages, including: damages for diagnosis, repair and/or replacement of the

water pump, damaged engine parts or the entire engine; damages for the diminished

value of their vehicles; overpayment damages; cost of repair damages; diminished

value damages; compensatory, statutory, and punitive damages; attorneys’ fees;

costs; and/or restitution.

II.   JURISDICTION AND VENUE

      22.    This Court has jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d)(2). The matter in controversy, exclusive of interest and costs, exceeds the

sum or value of $5,000,000 and is a class action in which there are more than 100

members of the Class, members of the Class (as defined below) are citizens of a state

different from Defendant, and greater than two-thirds of the members of the Class

reside in a state other than the state in which Defendant is a citizen. This Court also

has jurisdiction over supplemental state law claims pursuant to 28 U.S.C. § 1367.

      23.    Venue properly lies in this District pursuant to 28 U.S.C. § 1391(a), (b),

and (c) because: Defendant maintains operational facilities in New York and in this

District; a substantial part of the events or omissions giving rise to Plaintiff’s and the

New York Class’ claims occurred in New York and in this District; Defendant has

caused harm to Plaintiff and the New York Class members transacting and residing


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in New York and in this District; and Defendant conducts a substantial amount of

business in New York and in this District. 3 Furthermore, Defendant has marketed,

advertised, and sold the Class Vehicles in New York and in this District.

Accordingly, Defendant has sufficient contacts with New York and this District to

subject Defendant to personal jurisdiction in the District, and venue is proper.

III.   PARTIES

       A.    Plaintiff

       24.   Plaintiff Mark Militello is a citizen of the State of New York and resides

in Victor, New York. In March 2019, Plaintiff Militello bought a 2016 Ford Explorer

from Genesee Valley Ford, an authorized Ford dealer, in Avon, New York for

personal, family, or household purposes. In or around September 2019, Plaintiff

Militello experienced a water pump failure due to the Defect. Plaintiff Militello took

his Class Vehicle to a mechanic for inspection, who diagnosed the cause of coolant

leak as a water pump failure. The water pump failure occurred at approximately

61,300 miles. As a result of the Water Pump Defect, Plaintiff Militello was forced




3
 For example, Ford maintains a stamping plant in Buffalo, New York, that employs
approximately 1,100 people. See Worldwide Locations: United States – Buffalo
Stamping Plant, FORD, https://corporate.ford.com/operations/locations/global-
plants/buffalo-stamping-plant.html (last visited Oct. 5, 2022) (stating that Ford has
an eighty-eight-acre plant, opened in 1950, that “[s]tamps outer and inner
commodities”).

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to pay approximately $2,000 for a water pump replacement and had to use a credit

card to cover the cost.

       25.   Plaintiff Militello was not informed by Ford of the Defect or the

associated safety risk at the time he purchased his Class Vehicle from the Ford

authorized dealer.

       26.   The Water Pump Defect is material to Plaintiff Militello. Had Plaintiff

Militello known that his Class Vehicle contained the Water Pump Defect, he would

not have purchased it, or would have paid less for it.

       B.    Defendant
       27.   Defendant Ford Motor Company is a Delaware corporation, with its

corporate headquarters located in Dearborn, Michigan.

       28.   Ford designs, engineers, manufactures, markets, and/or sells vehicles

throughout the United States, including New York, through its network of authorized

dealers. Ford engages in interstate commerce by selling vehicles through its

authorized dealers located in every state of the United States, including within this

District.

       29.   At all times relevant to this action, Defendant and/or its agents

manufactured, distributed, sold and warranted the Class Vehicles, containing the

Defect described herein, throughout the United States and in New York and in this

District. Defendant developed and disseminated the owner’s manuals and warranty


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booklets, maintenance schedules, advertisements, and other promotional materials

relating to the Class Vehicles.

IV.   FACTUAL ALLEGATIONS

      A.     Chain-Driven Water Pumps

      30.    Chain-driven water pumps are relatively new to the automobile

industry. Historically, water pumps were located external to the engine block and

driven by an accessory belt drive system. When such external water pumps fail,

notice is provided to the driver of the vehicle in the form of coolant leaking onto the

ground, steam coming from the engine, and/or dashboard warning lights indicating

that the vehicle is overheating. More recently, automakers have attempted to remove

items from the accessory drive belt in order to improve engine efficiency and to

reduce the overall volume of the engine as to fit into smaller engine compartments.

      31.    A chain-driven water pump is located within the engine block behind

the timing chain cover and relies on the timing chain to deliver its power, as shown

in the image below (the water pump is labeled “13”):




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      32.    An engine’s timing chain is driven by the crankshaft and turns the

camshaft, keeping it in sync with the crankshaft. The timing chain is constantly

lubricated by oil, to ensure that it operates smoothly and without friction. On certain

vehicles, including the Class Vehicles, the timing chain is connected to the water

pump and provides the power the water pump needs to circulate coolant through the

engine when the engine is running.

      33.    A water pump can circulate up to 7,500 gallons of coolant per hour,

which is required to prevent the engine from overheating. A typical water pump is

made up of numerous components, including, inter alia, a shaft, bearing assembly,

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mechanical seal with elastomer bellows, gasket, housing that encases the water

pump, and a weep hole designed to let a small amount of leaked coolant escape rather

than being forced into the water pump bearing assembly.

      34.   Beginning in 2007 with the Cyclone Engine, Ford began using an

internal chain-driven water pump, which it incorporated into the Class Vehicles. The

Cyclone Engine, shown below, uses a double overhead camshaft (“DOHC”)

configuration with two camshafts connected to the crankshaft by a timing chain to

ensure that the engine operating cycle is timed correctly. The chain-driven water

pump is circled in the photo below:




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      35.    The engine cooling system in the Cyclone Engine, including the water

pump, is intended to be a closed system, so that the coolant does not leak into/on

engine parts or mix with the engine’s oil and circulate throughout the engine.

      36.    However, when the water pump fails in the Class Vehicles, coolant is

able to escape from the closed system and leak into/on other engine parts, including,

inter alia, the timing chain, crankcase, and/or oil pan, where it mixes with the

engine’s oil, as illustrated below.




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      37.    If coolant mixes with engine oil, that mixture is then carried throughout

the other parts of the engine, where it causes increased friction between contacting

metal parts and leads to sudden, catastrophic engine failure.

      B.     The Water Pump Defect

      38.    Defendant is a manufacturer of vehicles sold under the Ford, Lincoln,

and Mercury brand names throughout the United States, including New York.

Defendant designed, manufactured, imported, distributed, marketed, and/or sold the

Class Vehicles in the United States, including New York. Defendant also provides

service and maintenance for the Class Vehicles through its extensive network of

authorized dealers and service providers nationwide and in New York.

      39.    Each of the Class Vehicles is equipped with the Cyclone Engine, which

was introduced by Ford in 2007, and incorporated into thousands of Class Vehicles.

Ford can identify the Class Vehicles by their Vehicle Identification Numbers

(“VINs”).

      40.    As a result of the Water Pump Defect, all Class Vehicles with Ford

Cyclone Engines have the propensity for the water pump to fail prior to the expected

lifetime of an internal water pump, which is 150,000 miles, leading to catastrophic

engine failure and/or costly repairs.

      41.    Plaintiff and members of the Class purchased and/or own Class

Vehicles that contain the Water Pump Defect, which can cause failure of the water


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pump prematurely and without warning. The Water Pump Defect can also lead to

catastrophic engine failure, causing a sudden loss of normal operation of the vehicle

and requiring thousands of dollars for repair or replacement of the entire engine.

      42.    The Cyclone Engine, and the Class Vehicles which are equipped with

the engine, contain the Water Pump Defect, which is the result of a defect in design.

By designing the Class Vehicles with the Water Pump Defect, Ford rendered the

Class Vehicles defective, unsafe, and unfit for their intended use and purpose.

      43.    Unlike a typical external, belt-driven water pump, the Cyclone Engine

has an internal water pump connected to the crankshaft by the timing chain and

positioned directly above the crankshaft and oil pan. This center placement of the

water pump is detrimental on two fronts.

      44.    First, as depicted below, in the event of a complete failure of the pump,

all of the coolant that leaks across the pump shaft will leak directly into the crankcase

below the water pump because there is nowhere else it could flow/pool.




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      45.    Second, the center placement of the water pump means that the weep

port conduit (i.e., the channel in which coolant flows from the pump, through the

engine block, and discharges outside the engine block) is both long and of small

diameter. The weep hole is an engineered leak control and visual indicator of

impending catastrophic pump failure, utilized in both internal and external water

pumps. This combination of long length and small diameter makes the weep port

conduit prone to blockage. Additionally, the weep hole in the water pumps installed

in Class Vehicles is prone to blockage by debris shed from a failing pump. When

weep holes are blocked, as in Class Vehicles, owners are unable to visually detect,

and in turn remedy, water pump failures before such failures lead to more

catastrophic results.




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      46.    Moreover, the weep port discharge is on the side of the engine block

(not taking full advantage of gravity) near a concave surface contour where the

coolant can pool. The problem here is that if the coolant pools in this area instead of

pooling underneath the vehicle, the coolant leak will not be noticed by the vehicle

operator.

      47.    The design of the Cyclone Engine in Class Vehicles also differs

significantly from designs used in certain other manufacturers’ engines with internal

water pumps. In certain other designs, the crank case and oil pan are set back from

the timing cover, preventing any leak from the water pump from seeping directly

into the oil pan, mixing with the oil, and destroying the engine. This avoids engine

failure in the event of internal water pump failure.

      48.    For comparison, the internal water pump used in the Subaru Boxer

Engines Flat 6 (EZ30D) (produced from 2003-2009) is located to the right of the

crankshaft, offset from the center of the engine. For this engine, the length of the

weep port conduit is relatively short and less prone to blockage. In addition, the weep

port discharge is towards the bottom of the engine, which is an optimal location for

the coolant to pool underneath the vehicle, easily visible to the vehicle operator.

      49.    Additionally, in the Class Vehicles, the elastomer bellows used in the

mechanical seal are perpetually immersed in coolant. It is well-known that the

mechanical properties of elastomers are known to degrade over time by exposure to


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elevated temperatures and coolant chemical attack, and should not be immersed

unshielded in coolant. As a result of this perpetual immersion and degradation of the

bellows, the ability to prevent leaks is compromised over time. To counteract this,

Defendant should have used elastomer bellows embedded in a metal shield so that

the bellows are protected from the coolant.

      50.    The water pump in Class Vehicles also defectively incorporates the use

of an unreinforced bearing oil seal. This, in turn, allows coolant that has leaked

across the mechanical seal to penetrate the bearing seal, which contaminates and

washes out the bearing lubricant. Defendant failed to use a water pump with a

reinforced bearing oil seal that would have prevented contamination from the

environment which, in turn, would have prevented bearing failure.

      51.    Examination of failed water pumps pulled from Class Vehicles has

revealed the following probable failure mode as a result of the above described

defects:

      52.    The mechanical properties of the elastomer bellows degrade over time

(owing to thermal/chemical/mechanical degradation).

      53.    The combination of degradation and high dynamic loading on the

elastomer bellows leads to the formation of a fatigue crack in the bellows. The

fatigue crack is the source of coolant leakage across the mechanical seal.




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       54.   The leak through the fatigue crack is large enough such that: (1) the

leak is not contained by the weep hole (either the weep hole is blocked by debris or

the leak volume is too large); or (2) the leak is contained but moisture levels at the

bearing seals are elevated.

       55.   The coolant leak (or elevated moisture levels) penetrates the bearing

seal, which contaminates and washes out the bearing lubricant. Once the lubricant is

washed out, the bearings fail.

       56.   Now operating with failed bearings, the mechanical seal becomes

completely compromised, the pump fails completely, and coolant leaks through the

pump drive shaft and into the crankcase and oil pan where it is mixed with the engine

oil.

       57.   This sets in motion a chain of reactions and events that reduces the

lubricating properties of the oil.

       58.   Even more concerning, the engine cooling system in the Class Vehicles

is designed in a manner that causes coolant from a failed or failing water pump to

leak into/on engine parts, including, inter alia, the timing chain, crankcase, and/or

oil pan. The Water Pump Defect allows coolant to mix with the engine oil, and the

mixture can then spread throughout the entire engine. This often causes immediate

catastrophic engine failure, without the operator of the vehicle having any prior

notice of the problem or of the imminent failure.


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      59.   As shown below, this mixture of oil and coolant resulting from the

Water Pump Defect has been described as a “chocolate milk” substance, which is

devastating to an engine:




      60.   Once this substance has spread throughout an engine, the engine will

seize, and replacement of the entire engine is required. This often occurs while the

vehicle is being driven, with no warning to drivers of the Class Vehicles, and poses

a safety risk when the engine suddenly fails during operation.




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      61.    Ford provides no warning to Plaintiff and members of the Class

regarding the Water Pump Defect and associated safety risk. Rather, Ford publishes

owner’s manuals and maintenance schedules which do not specifically disclose that

the water pump requires costly service, repair, or replacement during at least the first

150,000 miles of the Class Vehicles’ lives in order to avoid catastrophic engine

failure. 4 Ford’s maintenance schedules inform customers of the parts that are

required to be maintained or replaced at certain intervals, up to 150,000 miles, and



4
  See, e.g., Exhibit D (2007 Model Year Scheduled Maintenance Guide); Exhibit E
(2008 Model Scheduled Maintenance Guide); Exhibit F (2009 Model Year
Scheduled Maintenance Guide); Exhibit G (2010 Model Year Scheduled
Maintenance Guide); Exhibit H (2011 Ford Explorer Maintenance Schedule),
available     at:    https://owner.ford.com/tools/account/maintenance/maintenance-
schedule.html#/ymm/2011/Ford/Explorer/31 (a screenshot of this interactive
website showing the suggested maintenance at 150,000 miles has been provided);
Exhibit I (2012 Ford Explorer Maintenance Schedule), available at:
https://owner.ford.com/tools/account/maintenance/maintenance-schedule.html#
/ymm/2012/Ford/Explorer/31 (same); Exhibit J (2013 Ford Explorer Maintenance
Schedule),      available     at: https://owner.ford.com/tools/account/maintenance
/maintenance-schedule.html#/ymm/2013/Ford/Explorer/31 (same); Exhibit K (2014
Ford Explorer Maintenance Schedule), available at: https://owner.
ford.com/tools/account/maintenance/maintenance-schedule.html#/ymm/2014/Ford/
Explorer/31 (same); Exhibit L (2015 Ford Explorer Maintenance Schedule),
available     at:    https://owner.ford.com/tools/account/maintenance/maintenance-
schedule.html#/ymm/2015/Ford/Explorer/31 (same); Exhibit M (2016 Ford
Explorer Maintenance Schedule), available at: https://owner.ford.com/tools/account
/maintenance/maintenance-schedule.html#/ymm/2016/Ford/Explorer/31          (same);
Exhibit N (2017 Ford Explorer Maintenance Schedule), available at:
https://owner.ford.com/tools/account/maintenance/maintenance-schedule.html#/
ymm/2017/Ford/Explorer/31 (same); Exhibit O (2018 Ford Explorer Maintenance
Schedule), available at: https://owner.ford.com/tools/account/maintenance/
maintenance-schedule.html#/ymm/2018/Ford/Explorer/31 (same).

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make no reference to the water pump. Instead, Ford implicitly represents that the

water pump is expected to last for the useful life of the engine, or at least 150,000

miles, without the need for maintenance, repair, or replacement. As a result, Plaintiff

and members of the Class relied on Ford’s representations that the water pumps in

the Class Vehicles do not need to be repaired or replaced before the Class Vehicles

reach 150,000 miles.

      62.    A water pump by itself, for the Cyclone Engine, one of which is shown

below as part 8501, retails for approximately $200 (excluding labor): 5




5
 See Engine Water Pump, FORD, https://parts.ford.com/shop/en/us/pump-assy-
water-6347575-1 (last visited Oct. 5, 2022).

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      63.   However, as noted above, the location of the water pump in Class

Vehicles makes it labor-intensive and extremely expensive to replace. Numerous

engine components, including, inter alia, the timing chain, guides, and cover, have

to be removed in order to access the water pump. Given the internal placement of

the water pump, replacing the water pump in the Cyclone Engine typically requires

at least 12-14 hours of work, at an expense of over $1,500.

      64.   While unreasonable, this expense pales in comparison to the expense

of replacing the entire engine as a result of the Water Pump Defect, as depicted in

the image below, which can range from $4,000-$9,000 for a replacement engine.




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      65.    As alleged herein, Plaintiff and members of the New York Class

purchased vehicles that contain the undisclosed Water Pump Defect and suffered

actual damages, including overpayment damages, cost of repair damages and/or

diminished market value, related to their purchase of the Class Vehicles as a direct

result of Defendant’s misrepresentations and/or omissions regarding the standard,

quality, and/or grade of the Class Vehicles and/or the existence of the Water Pump

Defect and its associated safety risk. The fact that the Class Vehicles contain the

Water Pump Defect is material to Plaintiff and members of the Class because it leads

to a serious safety risk, exorbitant repair or replacement costs, and diminishes the

value of the Class Vehicles. Plaintiff and members of the New York Class would

not have purchased the Class Vehicles, or would have paid less for the Class

Vehicles, had Ford disclosed the Defect at the point of sale.

      66.    In stark reminder of the magnitude and scope of the problem, since

commencing this action on August 14, 2018, Plaintiff’s counsel has been contacted

by over 2,400 consumers about water pump problems in Class Vehicles. Among

them, many consumers reported numerous ways that a water pump failure and/or

catastrophic engine failure in their Ford, Lincoln, and Mercury vehicles have created

grave safety concerns and personal and financial hardships in their daily lives. A

sample of these complaints include:

      •      An individual contacted Plaintiff’s counsel on August 14, 2019 and
             reported that his 2011 Ford Flex experienced complete loss of power at

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     90,950 miles, without warning, while he was driving with his wife and
     two young children in the car at high speed on an interstate highway,
     several miles from their home. They were ¼ of a mile from entering a
     construction zone where there were no roadway shoulders. They
     needed to have the car towed off the highway and rent a U-Haul to tow
     the vehicle home where it was diagnosed as having had a water pump
     and timing chain failure, resulting in catastrophic engine failure. This
     individual is still making payments on the vehicle and had to pay
     additional money to have the damaged engine replaced.
•    The owner of a 2011 Ford Edge contacted Plaintiff’s counsel on June
     7, 2019 and reported that he was driving from Texas to Louisiana on an
     interstate highway when his car died with a little over 109,000 miles on
     it. He drifted to the side of the highway, and upon opening the hood, he
     saw that the coolant tank was empty and had leaked into the oil, turning
     it into a “milky” consistency. After towing the car back to Louisiana,
     he pulled the oil pan from the car and saw that it had metal shavings
     throughout and it appeared that the water pump had disintegrated into
     the oil.
•    An owner of a 2011 Ford Edge contacted Plaintiff’s counsel on July 30,
     2019 and reported that he was traveling from Kansas to Florida on
     vacation with his family when the coolant light and engine oil pressure
     light came on. After finding a safe place to pull over along the roadway,
     he added coolant to the reservoir and it “gushed” back out. The vehicle
     was towed to a nearby mechanic in Tennessee where it was left while
     they returned to Kansas. When the car was returned to Kansas, he was
     told the engine needed to be replaced. The car has approximately
     125,000 miles on it.
•    An individual contacted Plaintiff’s counsel on August 12, 2019 and
     reported that he recently experienced catastrophic engine failure for a
     second time in the same 2010 Ford Edge. He stated that he purchased
     the car new from a Ford dealer and has followed the maintenance
     schedule suggested by Ford. This individual stated that his water pump
     first failed at approximately 90,000 miles, causing catastrophic engine
     failure, only to be replaced by a new engine and water pump, which
     then failed in August 2019 after just 60,000 miles.
•    The owner of a 2011 Ford Edge contacted Plaintiff’s counsel on May
     8, 2019 reporting that she was returning from a trip with the cruise
     control set when the RPMs started to ramp up and the engine started to

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     “skip.” After pulling into a nearby gas station and opening the coolant
     tank, the remaining liquid was sucked into the engine like a vacuum.
     She paid to have her car towed 120 miles back to her home and was
     quoted $6,800 for a new engine. The car has roughly 100,000 miles on
     it.
•    On August 13, 2019, Plaintiff’s counsel was contacted by the owner of
     a 2011 Ford Edge who reported that she was traveling with her wife on
     an interstate highway at 65 MPH when there was a noise from under
     the hood. Her wife was able to pull the car safely over the shoulder
     where the car died with 111,000 miles on it. She had the car towed to
     the nearest mechanic who advised her that the water pump had failed
     and flooded the engine with coolant and metal shavings.
•    On June 3, 2019, the owner of a 2011 Ford Explorer contacted
     Plaintiff’s counsel and reported that she was traveling with her five and
     six-year-old children when her car lost power in a thunderstorm without
     warning. She “limped” the car off the main road into a local pizzeria
     parking lot and had it towed from there to her local mechanic. Her
     mechanic advised her that the water pump failed and destroyed the
     engine. The car had 134,000 miles on it.
•    An individual contacted Plaintiff’s counsel on July 16, 2019 reporting
     that she recently experienced catastrophic engine failure in her 2011
     Ford Edge as a result of a failed water pump. The car has approximately
     100,000 miles on it. This individual currently works two jobs to make
     ends meet and had to withdraw retirement funds to pay for the engine
     replacement. She has lingering concerns that she will have the same
     water pump problem with the replacement engine as well. Over the past
     month, she has been borrowing cars and asking for rides from friends
     and family so she can get to and from work.
•    An individual contacted Plaintiff’s counsel on August 9, 2019 reporting
     that she experienced catastrophic engine failure due to a faulty water
     pump on her 2011 Ford Edge. The car has 135,000 miles on it. This
     individual continued making car payments for several months as the
     vehicle sat dead in her backyard while trying to secure financing for a
     new engine for the vehicle. While her car was dead, she had to rely on
     public transportation to commute to and from work.
•    The owner of a 2011 Ford Edge contacted Plaintiff’s counsel on August
     9, 2019 and reported that her vehicle completely shut down at an
     intersection, requiring bystanders to help her push the car out of the

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             intersection to avoid collision from oncoming traffic. This owner was
             told that her car required a new engine, costing approximately $7,500.

      67.    As a result of Defendant’s fraudulent concealment and material

omissions, including its failure to disclose the presence of the Water Pump Defect

in the Class Vehicles, Defendant has caused Plaintiff and members of the Class to

suffer actual damages, including, but not limited to, overpayment damages, cost or

repair damages, out-of-pocket expenses and/or the diminished value of their

vehicles. As evident from the above, and other facts recited herein, Defendant also

placed Plaintiff’s and other Class members’ lives in danger.

      C.     Defendant Touted Reliability, Quality, and Safety in Its
             Marketing and Advertising

      68.    Defendant engages in direct marketing to consumers, such as Plaintiff

and members of the Class, via television and radio commercials, print advertising,

and the publication of vehicle brochures which are distributed through its network

of authorized Ford dealerships, in order to induce consumers to purchase its vehicles.

This comprehensive advertising campaign is ongoing.

      69.    Through this direct advertising campaign, Defendant purports to build

reliable, high quality, and safe vehicles. Defendant’s customers are well aware of

Ford’s slogan it uses to describe its vehicles—“Built Ford Tough”:




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       70.     Specifically, Ford represented to consumers that “[i]mproving quality

is a daily priority at Ford” and that “[f]rom design and manufacture to sales and

service, Ford always aims to increase customer satisfaction.” 6 Defendant further

informs consumers that it has “a longstanding commitment to developing and

implementing innovations that make our vehicles safer for our customers and their

families.” 7

       71.     Similarly, Defendant has stated that “[s]afety continues to be one of the

highest priorities in the design of our vehicles, and quality is a critical aspect of

customer safety – and therefore of our responsibilities and success as a company”




6
                       Our                Company,                       FORD,
https://web.archive.org/web/20180327120357/http://corporate.ford.com:80/compa
ny.html (last visited Oct. 5, 2022).
7
  Id.

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and that the Company “continue[s] to produce high-quality, smart, clean and safe

vehicles.” 8

       72.     Likewise, Defendant has stated that “[q]uality is at the heart of

everything we do, and it drives ongoing improvements across all functions while

delivering high-quality vehicles that our customers want and value.” 9

       73.     In advertising for Class Vehicles on Ford’s website during the times in

which the vehicles were sold, Defendant repeatedly touted the safety of the Class

Vehicles, claiming for example, inter alia, that the 2010 Ford Edge was a “Top

Safety Pick,” the 2010 Ford Explorer offered “Five Star Safety” and the 2012 Ford

Flex included “advanced safety features”:




8
             Sustainability         Report            2017/18,             FORD,
https://web.archive.org/web/20181224164026/https://corporate.ford.com/content/d
am/corporate/en/company/2017-18-Sustainability-Report/sr17.pdf (last visited Oct.
5, 2022).
9
  Id.

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      74.   Defendant made such claims while knowing that it was selling, and has

sold, thousands of Class Vehicles equipped with the Water Pump Defect and

corresponding safety risk. These claims helped Defendant to conceal the Defect’s

existence in order to sell more vehicles, avoid the financial responsibility of

repairing and/or replacing defective water pumps or any engine components

damaged by the water pump’s failure, and transfer those costs to Plaintiff and New

York Class members.

      D.    Defendant’s Knowledge of the Defect and Associated Safety Risk

      75.   Ford knew of the Defect and the associated safety risk prior to the sale

of any Class Vehicle.




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      76.   Defendant fraudulently and intentionally omitted and concealed from

Plaintiff and members of the Class the Defect in the Class Vehicles even though

Defendant knew or should have known of the Water Pump Defect in Class Vehicles.

      77.   Knowledge and information regarding the Water Pump Defect were in

the exclusive and superior possession of Ford, its partner Mazda, and their dealers,

and that information was not provided to Plaintiff and members of the Class. Based

on pre-production testing, pre-production design failure mode analysis, production

design failure mode analysis, early consumer complaints made to Defendant’s and

Mazda’s network of exclusive dealers, aggregate warranty data compiled from those

dealers, repair orders and parts data received from the dealers, consumer complaints

to dealers and NHTSA, and testing performed in response to consumer complaints,

inter alia, Defendant was aware (or should have been aware) of the Water Pump

Defect in the Class Vehicles and fraudulently concealed the Defect and safety risk

from Plaintiff and members of the Class.

      78.   Defendant knew, or should have known, that the Water Pump Defect

and the associated safety risk was material to purchasers of Class Vehicles and was

not known or reasonably discoverable by Plaintiff and members of the Class before

they purchased Class Vehicles or within the applicable warranty periods.

      79.   Notwithstanding Defendant’s exclusive and superior knowledge of the

Water Pump Defect, Defendant failed to disclose the Defect to consumers at the time


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of purchase of the Class Vehicles (or any time thereafter) and continues to deny the

existence of the Defect. Defendant intentionally concealed the Defect and that the

Defect presents a safety risk to consumers, including Plaintiff, members of the New

York Class, and the public.

                    Defendant Knew that a Defect in the Class Vehicles’ Water
                    Pump Had the Potential to Cause Catastrophic Engine
                    Failure Given the Water Pump’s Design and Location

      80.    Ford knew during the design and pre-production stages of the Class

Vehicles that the failure of a Class Vehicle’s water pump could pose a significant

safety risk to the Class Vehicles’ driver and occupants.

      81.    As explained above, as a result of the water pump’s design and location,

when the water pump fails in the Class Vehicles, coolant is able to escape from the

closed engine cooling system and leak into the oil pan and/or other engine

components, allowing it to mix with the engine’s oil. Also, as explained above, when

coolant mixes with engine oil, the mixture is carried throughout other parts of the

engine where it causes friction and leads to sudden, catastrophic engine failure.

      82.    It is common knowledge among vehicle manufacturers, such as Ford,

that catastrophic engine failure causes a vehicle to lose engine power, including the

ability to accelerate, maintain speed, readily control steering and/or fully engage the

brakes.




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      83.    It is also common knowledge among vehicle manufacturers, such as

Ford, that a loss of engine power while the vehicle is in operation can result in an

accident and cause serious injury or even death to the occupants of the vehicle, as

well as others on the road.

      84.    Thus, Ford knew that as a result of the design and location of the water

pump in the Class Vehicles, a failure of the water pump could subject Class members

and any other occupants of the Class Vehicles to an unreasonable risk of harm.

      85.    In addition, Ford knew during the design and pre-production stages of

the Class Vehicles that as a result of the design and location of the water pump in

the Class Vehicles, potential problems with the water pump, such as leaks, weeps,

cracks, and damage could not be easily identified during routine service inspections,

even those conducted by Ford’s own mechanics.

      86.    As explained above, because the water pump in the Class Vehicles is

internally located within the Class Vehicles’ engine and behind numerous engine

components, including the timing chain cover, the water pump is hidden from view

during routine maintenance or service within the engine compartment.

      87.    Ford also knew during the design and pre-production stages of the Class

Vehicles that as a result of the design and location of the water pump in the Class

Vehicles, if catastrophic engine failure occurred as a result of problems with the




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water pump, the operator of the Class Vehicle would not have any prior notice of the

problem or of the imminent engine failure.

      88.    Also as explained above, because the water pump in the Class Vehicles

is located internal to the engine block, when the water pump fails, notice of the

failure is not provided to the operator of the Class Vehicle in the form of coolant

leaking onto the ground or dashboard warning lights indicating that the Class

Vehicle is overheating. Instead, when a Class Vehicle’s internal water pump fails,

because all of the coolant that leaks from the water pump will leak directly into the

crankcase below the water pump (instead of pooling underneath the vehicle where

the water pump is located external to the engine block), it will not be visible to the

operator of the Class Vehicle. Moreover, because the failure of a Class Vehicle’s

water pump often causes immediate engine failure, by the time dashboard warning

lights appear, the catastrophic engine failure has already occurred.

      89.    Thus, Ford knew that as a result of the design and location of the water

pump in the Class Vehicles, if the water pump failed, it would be difficult, if not

impossible, for the operator of the Class Vehicle to take action to prevent the

catastrophic engine failure and resulting risk of harm.

      90.    Accordingly, prior to the sale of the Class Vehicles, Ford was on notice

of the Defect and the potential problems and safety risks posed by the Defect in the

Class Vehicles’ water pumps given the design and location, and would have been


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keenly aware of any complaints made by purchasers and lessees of the Class

Vehicles that reported incidents of water pump failure and catastrophic engine

failure related to the failure of the Class Vehicles’ internal water pumps.

                      Defendant Knew About the Water Pump Defect Based on
                      the Volume of Complaints filed with NHTSA

        91.   Class Vehicle purchasers and lessees have filed numerous complaints

with NHTSA reporting the Water Pump Defect, the need to pay exorbitant amounts

to repair or replace the water pump and damaged engine parts, and detailing their

experiences of catastrophic engine failure, which put the safety of drivers and their

passengers at risk.

        92.   Federal law requires Ford to monitor defects which can cause a safety

issue and report them within five (5) days. See 67 FR 45822 (2000) (amending 49

U.S.C. § 30166(e) (1994)). In fact, manufacturers like Ford are obligated to maintain

sufficient systems to track reports of defects. Ford regularly monitors NHTSA

complaints and tracks those reports in a system to meet its reporting requirements

under federal law and was provided knowledge of the defect prior to and/or within

the express warranty time and mileage limitations through these complaints, inter

alia.

        93.   By June 2020, NHTSA had received approximately 200 complaints

regarding water pump failures in Ford and Mazda vehicles containing the Cyclone

Engine.

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      94.    As reflected in the below chart, the vast majority of the water pump

failures in those vehicles occurred well before the useful life of the engine, which is

150,000 miles, but just after the express warranty’s mileage limitation would have

expired:




      95.    Notably, the average mileage reported for the water pump failures at

issue in those complaints was only 102,957 miles. The median (50th percentile)

mileage reported was 100,000 miles, so half the water pump failures occurred before

100,000 miles. In other words, half the water pumps in the Ford and Mazda vehicles

containing the Cyclone Engine failed over 50,000 miles prematurely and over 33%

prior to the engine’s useful life.



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      96.    In fact, as reflected in the below table, approximately 91% of water

pump failures occurred before 150,000 miles of service, 57% of water pump failures

occurred before 105,000 miles of service, 38% of water pump failures occurred

before 90,000 miles of service, and 17% of water pump failures occurred before

75,000 miles of service:




      97.    Defendant would, or should, have had knowledge of this information,

as Defendant would have received orders for replacement parts and communications

through authorized dealerships concerning these failures. Moreover, the above

failures only reflect the mileage at failure as reported to NHTSA, and are thus likely

higher than the true average failure mileage amount because Class Vehicle

purchasers whose vehicles failed while under warranty would be less likely to report

their concerns to NHTSA.

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     98.   Below are excerpts of a small sample of consumer complaints made to

NHTSA regarding the Water Pump Defect in Class Vehicles:

  • January 14, 2014 – 2010 Ford Fusion
           I HAD JUST HA THE OIL CHANGED AT THE FORD
           DEALERSHIP IN MORROW, GA. WHO ALWAYS DO AND
           INSPECTION TO SEE IF THERE ARE OTHER SERVICES
           NEEDED, WHICH THEY FOUND NO ONE. TWO WEEKS LATER
           ON MY WAY HOME THE ENGINE RAN HOT. AS IT TURNS OUT
           THE WATER PUMP HAD FAILED BECAUSE OF PLASTIC
           IMPELLERS THAT ARE IN THE WORKMANSHIP. CALL FORD
           IN DETROIT TO INQUIRE AND THEY INFORMED ME THAT
           THERE WAS NO RECALL BECAUSE OF THE PROBLEM. I'M
           NOT SURE IF OTHER OWNERS HAVE HAD THE SAME
           FAILURE WITH THIS CAR OR NOT, BUT I WOULD LIKE TO
           KNOW.
  • January 16, 2014 – 2008 Ford Edge
           TL* THE CONTACT OWNS A 2008 FORD EDGE. THE CONTACT
           STATED THAT THE WATER PUMP MALFUNCTIONED AND
           LEAKED INTO THE ENGINE, CAUSING THE ENGINE TO FAIL.
           THE CONTACT TOOK THE VEHICLE TO A DEALER TO HAVE
           THE ENGINE REPLACED. THE CONTACT DID NOT HAVE ANY
           ISSUES WITH THE ENGINE AFTER THE ENGINE WAS
           REPLACED. THE MANUFACTURE WAS MADE AWARE OF
           THE FAILURE. THE FAILURE MILEAGE WAS 125,300.
  • July 16, 2014 – 2008 Ford Edge
           DISCOVERED MY 2008 EDGE HAS A FAILED WATER PUMP
           ASY. CAR OVERHEATED DUE TO THIS. ACCORDING TO
           SEVERAL SEASONED MECHANICS AND FORD, THIS SHOULD
           NOT HAPPEN TO THIS CAR WITH THIS AMOUNT OF
           MILEAGE. THE WAY THIS CAR WAS ENGINEERED, IT IS A
           $2300+ REPAIR - FOR A WATER PUMP! SPOKE WITH FORD
           SEVERAL TIMES ASKING FOR THEM TO STEP-UP AND TAKE
           RESPONSIBILITY. GOT NO HELP EXCEPT I SHOULD KEEP MY
           RECEIPTS. VERY DISAPPOINTED IN FORD.



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• September 5, 2014 – 2007 Ford Edge
        THE VEHICLE BEGAN TO OVERHEAT RAPIDLY AND THE AIR
        CONDITIONING BEGAN TO PUT OUT HOT AIR. I PULLED THE
        VEHICLE OFF OF THE ROAD AND TURNED EVERYTHING
        OFF. UPON COOLING DOWN, WATER WAS ADDED TO THE
        RADIATOR AND THE VEHICLE WAS TAKEN TO THE
        MECHANIC. THE PROBLEM WAS AN INTERNAL WATER
        PUMP. THE WATER PUMP COST $1900 TO HAVE REPLACED. I
        CONTACTED FORD AND THEY SAID THEY CANNOT DO
        ANYTHING, IT IS THE DESIGN AND HOW YOU HAVE TO
        ACCESS THE WATER PUMP. I PRICED (3) DIFFERENT
        DEALERS ON THE REPAIR AND THEY WERE ALL WITHIN A
        FEW DOLLARS OF EACH OTHER. THIS PARTICULAR
        VEHICLE HAS NOT BEEN RELIABLE.
• September 19, 2014 – 2008 Ford Edge
        WITHOUT ANY WARNING OR CODES, THE CAR STOPPED
        RUNNING. UPON RESTART THE FAN RAN EXTREMELY FAST
        AND LOUD. UPON INSPECTION, THE WATER PUMP GASKETS
        HAD ESSENTIALLY MELTED, ALL COOLANT HAD LEAKED
        OUT AND THE ENTIRE COOLANT/WATER PUMP SYSTEM
        NEEDED TO BE FIXED AND REPLACED AT A COST OF MORE
        THAN $3,000. OF COURSE THE VEHICLE WAS ONLY 8,000
        MILES OUT OF WARRANTY. I'VE SEEN AT LEAST ONE OTHER
        COMPLAINT IDENTICAL TO THIS ONE. IT IS QUOTED HERE:
        "DISCOVERED MY 2008 EDGE HAS A FAILED WATER PUMP
        ASY. CAR OVERHEATED DUE TO THIS. ACCORDING TO
        SEVERAL SEASONED MECHANICS AND FORD, THIS SHOULD
        NOT HAPPEN TO THIS CAR WITH THIS AMOUNT OF
        MILEAGE. THE WAY THIS CAR WAS ENGINEERED, IT IS A
        $2300+ REPAIR - FOR A WATER PUMP! SPOKE WITH FORD
        SEVERAL TIMES ASKING FOR THEM TO STEP-UP AND TAKE
        RESPONSIBILITY. GOT NO HELP EXCEPT I SHOULD KEEP MY
        RECEIPTS. VERY DISAPPOINTED IN FORD."
• September 24, 2014 – 2011 Ford Taurus
        THE CONTACT OWNS A 2011 FORD TAURUS. WHILE DRIVING
        65 MPH, THE AIR CONDITIONER BECAME INOPERABLE AND
        THE ANTIFREEZE LEAKED WITHOUT WARNING. THE
        VEHICLE WAS TOWED TO AN INDEPENDENT MECHANIC.

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        THE TECHNICIAN DIAGNOSED THAT THE WATER PUMP
        NEEDED TO BE REPLACED. THE VEHICLE WAS NOT
        REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE
        FAILURE. THE FAILURE MILEAGE WAS 95,000.
• October 06, 2014 – 2012 Ford Fusion
        BOUGHT A 2012 FORD FUSION BRAND NEW FROM A
        DEALERSHIP. FIRST INCIDENT OCCURRED WITHIN FIRST 2
        YRS OF OWNERSHIP WHILE DRIVING 45 MPH DOWN AN
        INCLINE - SUDDEN LOSS OF POWER. IT FELT AS IF IT LOST
        POWER STEERING AND THOUGHT ENGINE SHUT OFF. DASH
        ALARMS RANG AND BRIEFLY SAW 'POWER STEERING
        FAULT' LIGHT UP. TOOK ALL MY POWER TO PULL CAR OFF
        ROAD AND TO A SAFE COMPLETE STOP.TURNED OFF
        IGNITION. AFTER A FEW MINUTES RESTARTED IGNITION
        AND DROVE DIRECTLY TO A DEALERSHIP WITHOUT
        FURTHER INCIDENT. DEALERSHIP STATED WATER PUMP
        WAS DEFECTIVE AND SENT A SIGNAL TO THE ENGINE TO
        SHUT DOWN. PUMP WAS REPLACED SECOND INCIDENT
        OCCURRED MONTHS LATER WHILE AT A COMPLETE STOP
        AT A TRAFFIC LIGHT. STEERING WHEEL SUDDENLY
        LOCKED, AND FELT ENGINE POWER REDUCE. DASH
        WARNING SOUNDED AND SAW 'POWER STEERING FAULT,
        SERVICE POWERTRAC' LIGHT UP. TURNED IGNITION OFF
        AND BACK ON AND WAS ABLE TO DRIVE TO DEALERSHIP
        WITHOUT FURTHER INCIDENT. WAS TOLD A CHIP
        REPLACEMENT WAS ISSUED. REPLACED CHIP AND WAS
        TOLD THAT WOULD EXTEND THE WARRANTY AND
        RESOLVE ISSUE. CONTINUE TO HAVE ADDITIONAL
        INCIDENTS (4 TO DATE ) BOTH WHILE MOVING AND AT A
        STAND STILL WHERE THE DASH WARNING SOUNDED AND
        FELT A REDUCTION OR LOSS OF POWER, EACH TIME
        HAVING TO SHUT OFF IGNITION AND RESTART TO CLEAR
        THE FAULT. DEALERSHIP CONTINUES TO ATTEMPT TO
        SERVICE WITH NO RESOLVE AS YET.
• December 9, 2014 – 2010 Ford Taurus
        MY VEHICLE SUDDENLY RAN HOT WHILE DRIVING ON THE
        INTERSTATE AT APPROXIMATELY 65 MPH. I IMMEDIATELY
        PULLED OFF AS MY EXIT WAS APPROACHING AND WITHIN

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        1/2 FOUND A SAFE PLACE TO PARK. THE ENGINE HAD
        STEAM COMING FROM THE RADIATOR. AFTER CALLING
        AAA FOR A TOW, IT WAS TOWED TO THE LOCAL AAA AND
        THEN TO THE CLASSIC FORD DEALERSHIP. AS THE CAR
        ARRIVED ON A FRIDAY, FORD DID NOT CHECK IT UNTIL THE
        FOLLOWING TUESDAY. I RECEIVED A QUOTE FROM FORD
        THAT IT NEEDED AN ENTIRELY NEW ENGINE, TIMING BELT
        AND WATER PUMP FOR $7, 400.00! CALLS TO THE
        CORPORATE FORD DID NO GOOD AS THEY SAID THERE WAS
        NOTHING THAT FORD COULD DO BUT TO KEEP MY
        RECEIPTS IN CASE A RECALL WAS EVER ANNOUNCED. I
        CALLED ANOTHER MECHANIC THAT I HAD USED IN THE
        PAST AND HE WAS ABLE TO FIX THE ENGINE FOR $1800.00.
        THE MECHANIC SAID THAT THE ENGINE DESIGN WAS
        FAULTY AND THAT IF IT EVER RAN HOT AGAIN, IT WOULD
        DO THE SAME DAMAGE BECAUSE OF THE DESIGN.
• March 12, 2015 – 2008 Ford Edge
        THE WATER PUMP IS LOCATED INSIDE THE ENGINE AND
        WHEN A SIMPLE $160 PART FAILED, IT CIRCULATED ANTI-
        FREEZE THROUGH THE ENGINE NECESSITATING A
        COMPLETE ENGINE REPLACEMENT. THIS HAPPENED
        WITHIN THE SPAN OF 5 MINUTES WITH THE FIRST
        SYMPTOM THE HEAT WENT OFF INSIDE THE CABIN. NO
        ENGINE LIGHTS CAME ON, THE HEAT CAME BACK ON AND
        WENT OFF AGAIN, STILL NO INDICATION OF ENGINE OR
        TROUBLE LIGHTS GOING ON. THEN MAJOR ENGINE
        FAILURE, INSTANTLY THE OIL LIGHT WENT ON AND
        WITHIN SECONDS THE MOTOR OVERHEATED. THERE WAS
        A TERRIBLE NOISE AS I FOUND MY WAY TO A SAFE SPOT TO
        STOP THE CAR. THIS IS THE MOST BASIC KIND OF
        IRRESPONSIBILITY IN CREATING AN EXPENSIVE PRODUCT
        LIKE A CAR. AMERICAN COMPANIES OWE IT TO THE PUBLIC
        NOT TO FOIST A HUGE DESIGN DEFECT ON AN
        UNSUSPECTING PUBLIC AND SHOULD WILLINGLY PAY
        100% OF ANY AND ALL CLAIMS FOR THIS ISSUE.
• April 2, 2015 – 2015 Ford Taurus
        THE CONTACT OWNS A 2015 FORD TAURUS. AFTER DRIVING
        THE VEHICLE, A STRONG ABNORMAL ODOR EMITTED FROM

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        THE HOOD. WHEN THE CONTACT OPENED THE HOOD, THE
        STEAM WAS SO HOT THAT HE COULD NOT TOUCH THE
        RADIATOR HOSE. THE VEHICLE WAS TAKEN TO THE
        DEALER. THE TECHNICIAN STATED THAT THE WATER PUMP
        WAS PLACED IN A DIFFERENT LOCATION FROM PREVIOUS
        OLDER MODELS CAUSING THE RADIATOR TO EMIT HIGHER
        HEAT. THE MANUFACTURER WAS MADE AWARE OF THE
        FAILURE. THE FAILURE MILEAGE WAS 300.
• September 3, 2015 – 2013 Ford Taurus
        THE CONTACT OWNS A 2013 FORD TAURUS. WHILE DRIVING
        APPROXIMATELY 60 MPH, THE COOLANT WARNING LIGHT
        ILLUMINATED. THE CONTACT NOTICED COOLANT
        LEAKING FROM THE FRONT OF THE VEHICLE. THE VEHICLE
        WAS TAKEN TO AN INDEPENDENT MECHANIC FOR
        DIAGNOSTIC TESTING. THE MECHANIC STATED THAT THE
        COOLANT WAS LEAKING FROM THE FREEZE PLUG AND
        WATER PUMP, AND BOTH NEEDED TO BE REPLACED. THE
        VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS
        NOTIFIED OF THE FAILURE. THE APPROXIMATE FAILURE
        MILEAGE WAS 82,000.
• September 30, 2015 – 2013 Ford Fusion
        FIRST PROBLEM WITH THE CAR WAS HAVING PROBLEMS
        WITH FIRST STARTING IT IN THE MORNING WITH IT ACTING
        AS IF IT WASNT GETTING GAS UNTIL I STEPPED ON THE
        ACCELERATOR WHILE IN PARK, DEALERSHIP CLAIMED IT
        WAS A CRACKED WATER PUMP. THEN THE CHECK ENGINE
        LIGHT CAME ON WHILE DRIVING, THEY REPLACED HEAD
        GASKET AND INTAKE GASKET DUE TO THE CODE FROM
        THE CHECK ENGINE LIGHT. THEN THE CAR STOPPED
        ACCELERATING ON THE INTERSTATE AND WHEN I PULLED
        OVER AND TURNED IT OFF IT MADE LOUD CRACKING
        NOISES AND WOULDNT START. DEALERSHIP SAYS A PIECE
        UNDERNEATH THE WATER PUMP FELL OFF THEY BELIEVE
        IT WAS DEFECTIVE BECAUSE THE BOLT WAS HALF THE
        SIZE IT WAS SUPPOSE TO BE AND RUINED THE ENGINE.
        FIRST PROBLEMS STARTED IN MAY UNTIL MOST RECENT
        ONE IN SEPT.



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• October 6, 2015 – 2010 Ford Fusion
        WHILE DRIVING I NOTICED THE TEMP GAUGE WAS ON
        HIGH. NO WARNING LIGHTS PRECEDING THIS AND NOW
        LOW COOLANT ALARM. TURNED A CORNER TO PULL OFF
        AND BEFORE I COULD, CHECK ENGINE LIGHT CAME ON
        AND ENGINE SHUDDERED TO A STOP CAUSING ME TO
        LOOSE STEERING AND BRAKES. WITH NO WARNING
        ENABLING ME TO EITHER CHECK THE CAR OUT, OR SAFELY
        GET OFF THE ROAD. THE WATER PUMP WHICH IS INSIDE
        THE ENGINE FAILED. IT HAS CONTAMINATED THE OIL NOW
        REQUIRING AN ENTIRE NEW ENGINE. ON SEARCHING
        GOOGLE FOR THE FORD 3.5L V6 ENGINE THIS APPEARS TO
        BE A HUGE PROBLEM WITH THESE ENGINES AND ITS
        DESIGN. I CANT IMAGINE WHAT WOULD HAPPEN SHOULD
        IT FAIL WITHOUT WARNING AT HIGHWAY SPEEDS.
• October 26, 2015 – 2007 Ford Explorer
        THE CONTACT OWNS A 2007 FORD EXPLORER. WHILE
        DRIVING 65 MPH, THE VEHICLE OVERHEATED AS HIGH
        TEMPERATURES WERE DISPLAYED ACROSS THE MESSAGE
        BOARD. IN ADDITION, THERE WAS AN INCREASE IN
        READING ON THE TEMPERATURE GAUGE. THE VEHICLE
        WAS TOWED TO A DEALER WHO WAS UNABLE TO
        DIAGNOSE OR REPAIR THE VEHICLE. THE VEHICLE WAS
        THEN TOWED TO ANOTHER DEALER WHO DIAGNOSED
        THAT THE RADIATOR, WATER PUMP AND HEATER CORE
        NEEDED TO BE REPLACED. THE VEHICLE WAS REPAIRED.
        HOWEVER, THE FAILURE PERSISTED. THE MANUFACTURER
        WAS NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE
        WAS 123,000.
• February 16, 2016 – 2011 Ford Edge
        DRIVING TO WORK ABOUT TEN MILES OF HIGHWAY, MY
        CAR STARTED RUNNING ROUGH AND SHAKING. I WAS
        ABLE TO COAST INTO A PARKING LOT THEN MY HEATER
        STOPPED WORKING A WARNING LIGHT CAME ON “ENGINE
        COOLANT TEMP” THEN IT DIED COMPLETELY IN A MATTER
        OF SECONDS, I SAW SOME SMOKE UNDER THE HOOD SO I
        CALLED FOR HELP. THERE WAS NO OTHER WARNING
        WHATSOEVER! THE MECHANIC TOLD US THAT THE WATER

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        PUMP HAD GONE OUT AND CAUSED THE ENGINE TO OVER
        HEAT. IT SHOT COOLANT INTO THE ENGINE AND IT WAS
        TOTALED. AGAIN THERE WAS ABSOLUTELY NO WARNING
        AT ALL. NO SENSORS NO ANYTHING. I MAINTAIN MY
        VEHICLE WITH REGULAR OIL CHANGES ETC. AND IF THERE
        HAD BEEN ANY WARNING LIGHT I WOULD HAVE TAKEN IT
        TO MY MECHANIC IMMEDIATELY.
• July 19, 2016 – 2011 Ford Explorer
        LONG STORY SHORT, I PULLED OUT OF MY NEIGHBORHOOD
        GOT ABOUT A QUARTER OF A MILE DOWN THE ROAD.
        HEARD THE DRIVE BELT SQUEAL FOR ABOUT 15 SECONDS,
        FOLLOWED BY CHECK ENGINE LIGHT, AND EXTREME
        ENGINE KNOCK. THE VEHICLE WAS SHUT OFF
        IMMEDIATELY.         THE        CODES        READ,
        CRANKSHAFT/CAMSHAFT CORRELATION BANK A SENSOR
        1, THE SECOND CODE WAS ENGINE KNOCK. VEHICLE
        TOWED TO THE DEALER WERE THEY HAD 2 OF THEIR TOP
        TECHNICIANS LOOK AT THE VEHICLE AND THE BOTH
        REPORTED THE WATER PUMP HAD FAILED AND FILLED
        THE ENGINE UP WITH COOLANT WHICH CAUSE THE ENGINE
        TO EXPIRE. MY WIFE ONLY HAD THE TRUCK FOR 2 YEARS
        AND SHE'S VERY CAREFUL DRIVER. NO WARNING SIGNS OF
        A FAILING WATER PUMP. JUST GOT BACK FROM A 7HR
        ROAD TRIP A WEEK BEFORE THE WATER PUMP FAILED AND
        THE ENGINE EXPIRED.
• December 28, 2016 – 2010 Ford Fusion
        WITHOUT WARNING, DRIVING HIGHWAY SPEEDS WE LOST
        POWER. GOT THE CAR STARTED AGAIN AND REALIZED
        THERE WAS NO HEAT, THEN NOTICED THE TEMPERATURE
        GAUGE WAS ON HOT. THE BATTERY LIGHT, CHECK ENGINE
        LIGHT AND WRENCH LIGHT TURNED ON. WE EVENTUALLY
        HAD TO BE TOWED AT A COST OF $460. THE MASTER
        MECHANIC IDENTIFIED THE WATER PUMP CRACKED, THEN
        RESEALED ITSELF AND COOLANT MIXED WITH THE OIL
        WHICH KILLED THE ENGINE. HE SAID THERE WOULD HAVE
        NOT BEEN ANY WARNING AND THIS ISSUE HAS BEEN SEEN
        BEFORE AND IS CATASTROPHIC. WE NOW HAVE TO
        REPLACE THE ENGINE AT A COST OF $8000. THERE ARE

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        FORUMS ONLINE WITH OTHER FUSION OWNERS
        EXPERIENCING THE SAME ISSUE BUT NO RECOGNITION OR
        RECALL FROM FORD. I HAVE HAD ISSUES WITH THIS CAR
        SINCE THE DAY I BOUGHT IT. I HAD TO HAVE MY
        ELECTRONIC THROTTLE BODY REPLACED TWICE, ALSO
        NOT A RECALL BY FORD BUT A CUSTOMER SATISFACTION
        PROGRAM. I GUESS THEY ARE OK WITH HAVING CARS
        LITERALLY TURNING OFF AT HIGHWAY SPEEDS BEFORE
        THEY FIX THE ISSUES.
• November 9, 2017 – 2013 Ford Fusion
        ON WAY TO WORK I ON THE MORNING OF 10-12-17 GOING
        ABOUT 75MPH ON INTERSTATE AND ALL THE SUDDEN
        THERE WAS A DING AND FLASH OF RED (CHECK ENGINE
        LIGHT) ON      THE DASHBOARD      STATING ENGINE
        OVERHEATING AND ENGINE SHUT DOWN AND CAR
        BASICALLY WENT INTO NEUTRAL. I LOST ALL POWER,
        RADIO, LIGHTS ETC. WITH THE MOMENTUM I HAD BUILT UP
        GOING 75 I WAS ABLE TO MAKE IT ACROSS THE 4 LANES TO
        THE SHOULDER. AN OHIO STATE TROOPER STOPPED TO
        ASSIST AND WAS DUMB FOUNDED WHEN HE SAY THERE
        WAS NO POWER, THE CAR WOULD NOT TURN ON. I CALLED
        THE DEALERSHIP SPOKE WITH JAY AND ADVISED THAT
        CAR WAS BEING TOWED IN. SERVICE DEPARTMENT AT
        FORD IS STATING THAT IT’S A SAFETY FEATURE TO STOP
        FIRE FROM HAPPENING, BUT HONESTLY HOW SAFE IS TO
        HAVE THE ENGINE AND ALL ELECTRICAL POWER
        COMPLETELY SHUT DOWN ON INTERSTATE. IT WAS A
        MATTER OF SECONDS BETWEEN DING, LIGHT AND LOSS OF
        POWER.
• June 19, 2018 – 2011 Ford Edge
        WATER PUMP EXPLODED AND DESTROYED THE ENGINE
        WITH NO WARNING. THE CAR STOPPED WORKING AT 65
        MILES AN HOUR ON THE HIGHWAY, LOST POWER,
        STEERING AND BRAKES. THE CAR WAS FULLY SERVICED
        AND PASSED INSPECTION ONLY 10 DAY BEFORE THE
        INCIDENT. THERE WAS NO WARNING BY INSTRUMENTS ON
        THE DASHBOARD. ONLY A LOSS OF POWER.



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                   Defendant Knew About the Water Pump Defect Based on
                   the Severity of the Safety Risk Caused by the Water Pump
                   Defect

      99.   Notwithstanding the volume of NHTSA complaints, several NHTSA

complaints also detailed grave safety concerns, which would or should have

prompted Defendant to investigate further, including the following:

   • December 18, 2015 – 2010 Ford Flex
            WHILE WAITING AT A LIGHT IN MY 2010 FORD FLEX THE
            ENGINE WAS IDLING ROUGH, AFTER THE SIGNAL TURNED
            GREEN THE POWER SEEMED LOW AND SLUGGISH AS I
            ACCELERATED. WHEN I WAS AT ABOUT 45 MPH THE
            ENGINE POWER RETURNED AND SEEMED MORE NORMAL,
            SUDDENLY WITHOUT NOTICE THE ENGINE TURNED OFF
            AND ALL DASH LIGHTS ILLUMINATED. I WAS ABLE TO
            PULL INTO A DRIVE WAY BUT WAS VERY HARD AS THERE
            WAS NO POWER STEERING. I WAS ABLE TO COAST TO A
            STOP SAFELY. ONCE STOPPED THERE WAS A VERY STRONG
            SMELL OF COOLANT. I OPENED THE HOOD AND FOUND A
            LARGE AMOUNT OF COOLANT ON RIGHT SIDE OF ENGINE.
            MY CAR WAS TOWED TO MY HOME TO FIGURE OUT WHAT
            THE ISSUE COULD BE. ON FURTHER INSPECTION IT IS
            SUSPECTED THAT THE WATER PUMP FAILED WHICH IS
            INTERNAL TO THE TIMING CHAIN COVER AND THEREFORE
            DUMPED A LARGE AMOUNT OF COOLANT INTO THE
            CRANKCASE WHICH THEN CONTAMINATED THE ENGINE
            OIL AND OVER FILLED THE OIL PAN. I WAS FORTUNATE
            THAT THIS OCCURRED ON A CITY STREET AND NOT ON THE
            FREEWAY AS THIS COULD HAVE CAUSED A MAJOR
            ACCIDENT. ON FURTHER RESEARCH I HAVE FOUND THIS
            HAS OCCURRED MANY TIMES.
   • September 14, 2016 – 2011 Ford Taurus
            CATASTROPHIC WATER PUMP FAILURE LEAKED A LOT OF
            COOLANT IN OIL - DRIVER WAS DRIVING THE CAR ON
            HIGHWAY WHEN ALL OF SUDDEN THE MOTOR JUST DIED
            (STALLED), FORCING THE DRIVER TO HARD STEER TO THE

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        SIDE OF HIGHWAY. THE GAUGE AT THE TIME JUST
        SUDDENLY JUMPED TO H - IN A SPAN OF FEW SECONDS AND
        ALL DASH LIGHTS ILLUMINATED. VERY LITTLE STEAM
        WAS COMING OUT - VERY LITTLE FLUID WAS LEAKING.
        NOTICED    SMELL    OF    COOLANT     RIGHT  AWAY.
        LOOKED/DOUBLE CHECKED UNDER THE CAR - LITTLE
        LEAK AGAIN. IMMEDIATELY THOUGHT MAYBE WATER
        PUMP OR AT LEAST RADIATOR HOSE LEAK, CHECKED THE
        COOLANT - IT WAS EMPTY. HAD IT TOWED TO PAUL MILLER
        FORD IN LEXINGTON. VERY UNFRIENDLY CUSTOMER
        SERVICE. THEY MENTIONED THAT IT WAS A
        "CATASTROPHIC ENGINE FAILURE" - COOLANT HAD MIXED
        IN WITH THE OIL AND WAS PRETTY MUCH SITTING THERE.
        I WAS VERY FORTUNATE THAT THIS HAS NOT CAUSED A
        MAJOR ACCIDENT AS I EXPLAINED IT WAS REAL
        DIFFICULT TO DRIVE THE CAR AFTER IT STALLED.
• November 2, 2016 – 2011 Ford Explorer
        HAVE EXTENSIVE ENGINE DAMAGE DUE TO WATER PUMP
        FAILURE WITH NO WARNING! I WAS DRIVING MY VEHICLE
        DOWN A MAIN HIGHWAY AND ALL OF A SUDDEN THE
        “ENGINE COOLANT OVERTEMP” CAME ON THEN "LOW OIL
        PRESSURE" AND MY VEHICLE SHUT DOWN! I COULDN'T
        DRIVE THE VEHICLE. LUCKILY I DRIFTED TO SIDE OF THE
        ROAD SO THAT MY CAR COULD BE TOWED WITHOUT
        HAVING AN ACCIDENT! SHOP DETERMINED WATER PUMP
        FAILURE AND WATER LEAKED INTO MY ENGINE POOR
        ENGINE DESIGN ON FORDS PART) AND DESTROYED THE
        ENGINE WITH NO WARNING! NO ENGINE LIGHT CAME ON
        OR ANYTHING. PLEASE INVESTIGATE THIS. THERE ARE
        NUMEROUS COMPLAINTS ABOUT THIS SAME SITUATION. I
        CALLED FORD TO COMPLAIN BUT ALL THEY DID WAS TAKE
        DOWN MY COMPLIANT. THIS IS A SAFETY ISSUE BECAUSE
        I WAS DRIVING IN TRAFFIC AND THIS COULD HAVE
        CAUSED AN ACCIDENT. THE WHOLE CAR JUST SHUT
        DOWN!
• February 6, 2017 – 2011 Ford Taurus
        I HAD A INTERNAL WATER PUMP FAILURE FILLING THE
        ENGINE WITH COOLANT. THIS RESULTED IN A ENGINE

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        HYDRO LOCK CONDITION (LUCKILY I WAS ABLE LIMP A
        VERY ROUGH RUNNING CAR IN THE EMERGENCY LANE AT
        15MPH TO A NEARBY EXIT). HAPPENED FRIDAY EVENING
        FEB 3RD 2017 ON A COLD 27 DEGREE EVENING. I WAS
        STRANDED NORTH OF NASHVILLE, TN ON I65. THIS IS A
        VERY VERY BAD DESIGN FLAW . . . LEARNING NOW IT MAY
        BE $8-9K FOR A NEW MOTOR. BESIDES THIS EXPENSE IS TO
        KNOW THIS ENGINE WILL HYDRO LOCK WITH ALL THE
        COOLANT IN IT AND CANNOT BE EASILY DRIVEN TO A SAFE
        LOCATION SEEMS VERY VERY DANGEROUS TO ME. IF THE
        EXIT WERE NOT LESS THAN A 1/2 MILE AWAY I WOULD
        HAVE BEEN STUCK. NO ONE WANTS TO BE ON A DARK
        FREEWAY FOR 1-2 HOURS WAITING FOR A TOW TRUCK ON
        A COLD FRIDAY NIGHT. ALL IS TAKES IS ONE PERSON
        FROM BEHIND TO SLIP OFF INTO THE EMERGENCY LANE
        AND THEN IT'S ALL OVER.
• April 7, 2017 – 2010 Ford Flex
        VEHICLE WAS TURNING OFF OF A STATE HIGHWAY INTO A
        SCHOOL ENTRANCE. WITHOUT WARNING (NO WARNING
        LIGHTS ON DASH) ENGINE STOPPED RUNNING. DUE TO
        ENGINE SHUT DOWN ALL AUXILIARY SYSTEMS LOST
        POWER. VEHICLE WAS MAKING A LEFT TURN INTO A
        SCHOOL ENTRANCE WHEN ENGINE TURNED OFF. IN THE
        MIDDLE OF THE TURN THE LOSS OF POWER STEERING
        AND POWER BRAKES MADE NEGOTIATING THE TURN
        UNSAFE. THE OPERATOR WAS UNABLE TO KEEP THE
        VEHICLE ON THE PAVED ENTRANCE AND ENDED UP OFF
        THE SHOULD AND INTO THE GRASS. FORTUNATELY THERE
        WERE NO PEDESTRIANS OR OBSTACLES. FAILURE COULD
        CAUSE A SAFETY ISSUE AT HIGHWAY SPEED DUE TO
        POTENTIAL FOR REAR ENDING DUE TO LOSS OF POWER. . .
        . THE VEHICLE REPAIR WAS JUST COMPLETED YESTERDAY
        AND I STILL FEEL UNSAFE AND UNCOMFORTABLE
        KNOWING THE SAME POTENTIAL FOR ENGINE FAILURE
        EXISTS.
• February 14, 2018 – 2010 Ford Taurus
        ON SUNDAY, 2/11/2018, I WAS DRIVING EAST I-26 IN
        COLUMBIA, SC HEADING TO WORSHIP SERVICES AND

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        WITHOUT WARNING, MY CAR SUDDENLY SHUTDOWN
        CAUSING ME TO LOSE MY STEERING ABILITY. I MANAGED
        TO GUIDE THE CAR OUT OF THE 60 MPH TRAFFIC AND CAME
        TO A STOP. . . . THIS FAILURE ALMOST CAUSED ME TO HAVE
        A MAJOR ACCIDENT ON A MAJOR INTERSTATE HIGHWAY. I
        THINK FORD SHOULD RECALL THESE ENGINES. MANY
        AUTO EXPERTS HAVE DISCOVERED THIS ISSUE WITH THE
        ENGINE. LOSS OF LIFE IS POSSIBLY WITH THIS
        DANGEROUS ENGINE MALFUNCTION AND AN ESTIMATED
        $7,300.00 ENGINE REPLACEMENT BILL. PLEASE TAKE
        ACTION ASAP TO AVOID DEATH AND INJURY TO FORD
        OWNERS. A RECALL COULD SAVE LIVES.
• May 23, 2018 – 2010 Ford Taurus
        WHILE TRAVELING THROUGH A RED LIGHT ON A STATE
        ROUTE, I BEGAN TO ACCELERATE. ALL DASH LIGHTS CAME
        ON. ENGINE SOUNDED CHOKED. VEHICLE THEN WOULD
        NOT ACCELERATE TRAVELING UP HILL. FORCING ME TO
        PULL OVER IMMEDIATELY. AFTER BEING TOWED TO A
        FORD DEALERSHIP FOR REPAIRS, WAS ADVISED THE
        ENGINE NEEDED REPLACED. DEALERSHIP SERVICE STATED
        THE WATER PUMP FAILED RELEASING COOLANT INTO THE
        ENGINE, DAMAGING THE ENGINE PERMANENTLY.
        TRAVELING THIS ROADWAY IS USUALLY A SEMI ROUTE TO
        A MAJOR HIGHWAY AND FACTORIES. SEMIS DO NOT SLOW
        DOWN OR STOP AS QUICKLY AS A CAR AND COULD HAVE
        CAUSED A FATAL ACCIDENT DO TO THE ABRUPT PULL
        OVER THAT WAS NECESSARY DUE TO THE MALFUNCTION.
• July 25, 2018 – 2010 Ford Edge
        I AM VERY DISAPPOINTED AND UNSAFE WITH MY FORD
        EDGE, FOR THE LAST FEW WEEKS IT HAS BEEN SHUTTING
        OFF WHEN THE CAR COMES TO A STOP OR IN IDLE. THERE
        IS NO CODES OR ANY WARNING SIGNS THAT COMES UP.
        THE CAR JUST LOSSES POWER AND SHITS OFF ON ITS OWN.
        . . . TODAY I WAS ON MY WAY HOME ON THE HIGHWAY I
        COME TO SLOW DOWN GETTING OFF ON MY EXIT AND THE
        CAR JUST SHUTS OFF AND THE STEERING WHEEL GETS
        TIGHT AND I CAN’T MOVE OR TURN IT . THERE WAS CARS
        NEXT TO ME AND BEHIND ME AND IN FRONT I COULD OF

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        GOT HURT OR PUT OTHERS IN DANGER. THIS IS NOT SAFE
        FOR FORD TO HAVE VECHILES OUT ON THE ROAD LIKE
        THIS WITH NOT SOURCE OF HOW TO FIX IT OR ANY
        WARNING LIGHT.
• October 21, 2018 – 2011 Ford Flex
        WATER PUMP, ENGINE. ALL OF A SUDDEN OUT OF THE BLUE
        WITH NO INDICATIONS, WARNING, LEAKS, STALLS, ROUGH
        DRIVING, NO STARTS, LIGHTS OR SMELLS; SENT TO START
        CAR AND IT WAS MAKING A METAL GRINDING/RATTLING
        SOUND AND WOULD NOT START. I HAD IT TOWED OVER TO
        THE FORD DEALER AND 2 DAYS LATER THEY LOOKED AT
        IT. THEY STATED THE WATER PUMP CATASTROPHICALLY
        FAILED, LEAKED INTO THE OIL PAN, OVERFILLED THE OIL
        PAN AND CAUSE COOLANT/WATER TO BE CIRCULATED
        THROUGH ENGINE CAUSING NO COMPRESSION AND
        SEIZING THE ENGINE . . . I AM JUST GLAD THIS DID NOT
        HAPPEN TO MY WIFE ON HER TRIP TO MICHIGAN AT NIGHT
        ON THE WEEKEND WITH KIDS IN THE CAR. IT MUST BE AN
        ISSUE IF I CAN FIND CLASS ACTION LAWSUITS ON THEI
        EXACT ISSUE. HOLD FORD RESPONSIBLE, THEY ARE
        GOING TO KILL SOMEONE OR THEIR FAMILIES.
• November 29, 2018 – 2011 Ford Explorer
        WE WERE TRAVELING I-26 FROM SC BACK INTO NC AFTER
        THANKSGIVING. MY CAR DINGED AND SAID COOLANT
        TEMP WAS TOO HIGH. THANKFULLY I WAS RIGHT AT A
        REST AREA AND IMMEDIATELY PULLED IN AND TURNED
        OFF THE CAR . . . I AM THANKFUL I WAS IN A POSITION TO
        PULL OVER IMMEDIATELY, BECAUSE IF THE ENGINE HAD
        GONE OUT ON THE BUSY INTERSTATE, THAT COULD HAVE
        BEEN A TERRIBLE CRASH. IF A WATER PUMP CAN CAUSE
        ENGINE FAILURE, THAT IS NOT A CAR I WANT TO BE IN
        WITH MY CHILDREN. DANGEROUS NOT ONLY TO US, BUT
        TO OTHERS TRAVELING NEAR US. FORD NEEDS TO
        RETHINK THIS DESIGN. NOT ONLY IS IT COSTLY TO REPAIR,
        BUT MORE IMPORTANTLY IT CAN BE VERY DANGEROUS.




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   • November 30, 2018 – 2011 Ford Fusion
            MY VEHICLE WAS MOVING IN A PARKING LOT WHEN THE
            ENGINE SUDDENLY BEGAN TO MISFIRE AND STALLED. THE
            FORD DEALERSHIP TOLD ME THE ENGINE SUFFERED A
            CATASTROPHIC FAILURE. THIS HAPPENED WITHOUT
            WARNING. . . . IF THIS PROBLEM WOULD OCCUR AT
            HIGHWAY SPEEDS NO POWER STEERING OR BRAKES
            WOULD BE OPERABLE, POSSIBLY RESULTING IN
            ACCIDENTS. THIS IS AN UNACCEPTABLE SITUATION!

   • January 15, 2019 – 2013 Ford Edge
            ON WEDNESDAY, JANUARY 9, 2019, MY 2013 FORD EDGE
            REPORTED AN "OVERHEATED COOLANT" MESSAGE AND
            WITHIN 2 SECONDS THE ENGINE LIGHT APPEARED, THE
            CAR IMMEDIATELY LOST THE ABILITY TO ACCELERATE
            AND BEGAN DECELERATING WHILE DRIVING AT 45 MPH
            ON A BUSY ROAD DURING NIGHT TIME RUSH HOUR
            TRAFFIC. THIS ENDANGERED MY SAFETY AND THE
            SAFETY OF OTHER MOTORISTS THAT HAD TO QUICKLY
            AVOID HITTING MY CAR. BOTTOM LINE HERE IS THAT THIS
            FLAWED DESIGNED IS A SAFETY ISSUE AND FORD SHOULD
            RECALL THE FORD EDGE TO FIX THIS WATER PUMP
            PROBLEM BEFORE SOMEONE IS SERIOUSLY INJURED OR
            DIES.
      100. Because the majority of complaints are made directly to Ford

authorized dealerships, it is reasonable to infer Ford has received, either directly

from customers or through its exclusive network of dealers, several times the number

of complaints identified above.




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      101. Notably, as detailed in the below table, during the same time period

NHTSA received few, if any, complaints about water pump failure in other Ford and

Mazda vehicles which do not utilize an internal water pump 10:

                                 NHTSA WATER PUMP COMPLAINTS

        CLASS VEHICLES
        AND MAZDA
        VEHICLES WITH
        CYCLONE ENGINE

                EDGE                              53

             EXPLORER                             32

                FLEX                              17

          FUSION 2010-2012                         9

              TAURUS                              25

                MKT                                3

                MKX                                7

                MKZ                                4

                CX-6                              28

              MAZDA6                               1

               TOTAL                              179

        NON-CLASS
        VEHICLES

           C-MAX HYBRID                            1

         CROWN VICTORIA                            1

                E-150                              1

10
 The Ford Escape is not included in the above table since it was recalled due to a
water pump defect.

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        F-150                          11

        F-250                           2

       F-250 SD                         2

       F-450 SD                         1

       F-550 SD                         1

       FIESTA                           6

       FOCUS                            3

     FREESTYLE                          3

       FUSION                          16

   FUSION HYBRID                        2

      MUSTANG                           7

      TRANSIT                           1

  TRANSIT CONNECT                       1

      RANGER                            0

     EXPEDITION                         0

       ZEPHYR                           1

      MARINER                           1

  MARINER HYBRID                        3

       MILAN                            1

        MKS                             3

  GRAND MARQUIS                         0

      MONTEGO                           0

     MONTEREY                           0

   MOUNTAINEER                          0



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            NAVIGATOR                               0

               TOTAL                                69



      102. When the NHTSA complaints relating to the Ford vehicles are

normalized to account for vehicle age and sales volume, the complaint rate for nearly

every model year of the Class Vehicles is many times higher than the non-Class

vehicles (those without the Cyclone Engine and chain driven internal water pump)

and under basic manufacturing principles would have alerted Ford to the presence

of a Defect, as demonstrated in the below table and chart:




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      103. The following table and chart show how much higher the complaint

rates were for the Class Vehicles than they were for the non-Class Vehicles when

the complaints are normalized to account only for sales volumes:

     Class Models         Complaints            Volume             Rate per Million

         Edge                53                1,471,185                36.03

   Explorer 2011-2018        32                1,567,564                20.41

        Taurus               25                 621,996                 40.19

          Flex               17                 277,763                 61.20

   Non-Class Models

        E-Series              1                1,161,500                0.86

        F-Series             17                8,302,809                2.05




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            Focus                   3                      2,220,730               1.35

          E, F, Focus              21                      11,685,039              1.80

          Expedition                0                       586,725                0.00

          Navigator                 0                       141,370                0.00




          104. Even more striking is how many times worse the complaint rates were

for specific Class Vehicles when compared to specific non-Class Vehicles:

 Class Models           Times Worse than E-        Times Worse than     Times Worse than E-
                        Series, F-Series, Focus    Focus                Series

 Edge                   20.05                      26.67                41.84

 Explorer 2011-2018     11.36                      15.11                23.71

 Taurus                 22.36                      29.75                46.68

 Flex                   34.06                      45.31                71.09




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      105. As demonstrated by the above table, the Ford complaint rate for the

Ford Edge is 41.84 times worse than the Ford E-Series, 26.67 times worse than the

Ford Focus, and 20.05 times worse than the combined rates of the E-Series, F-Series,

and Focus.

      106. Moreover, the NHTSA complaint rates are even more striking when the

volume of NHTSA complaints in Class Vehicles is compared to the dearth of

NHTSA complaints about water pumps in vehicles sold by Nissan and Subaru which

also utilize an internal water pump, as reflected in the table below:




      107. It is also industry practice for automakers to compare complaint rates

to competitors’ vehicles. As such, Ford would have known that not only were the

Class Vehicles experiencing higher water pump failure and complaint rates than

other Ford vehicles, but also that the Class Vehicles were experiencing higher water

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pump failure and complaint rates than competitors which also sell vehicles with

internal water pumps.

       108. Furthermore, due to the fact that they worked in conjunction on the

design, engineering, and developing of the Cyclone Engine, Defendant and Mazda

also exchanged reports from dealers, consumers, and NHTSA complaints regarding

the Water Pump Defect in Ford and Mazda vehicles incorporating the Cyclone

Engine with Mazda. As a result, Defendant also would also have been aware of

NHTSA complaints concerning Mazda vehicles with the same Water Pump Defect,

a small sample of which are included below:

   •   April 30, 2016 – 2009 Mazda CX-9
             SUV WOULD GO OFF IN THE MIDDLE OF THE ROAD OR
             HIGHWAY THEN TRAVELING A HIGH SPEED. TOOK IT TO
             DEALER, THEY SAY THAT THEY FOUND OIL & WATER MIX
             IN THE ENGINE DUE TO WATER PUMP FAILURE, MULTIPLE
             SYMPTOMS WOULD OCCUR AS DUE TO THIS CONDITION.
             THIS ISSUE IS VERY SERIES, FIRST YOU GET NO INDICATION
             OF THE PROBLEM, NOT SURE WHY THE WATER PUMP
             FAILURE CAUSES WATER TO ENTER THE MOTOR AND MIX
             WITH OIL, IT MUST BE A MAZDA DESIGN PROBLEM, WHICH
             THEY SEEM TO KNOW ABOUT AND NEVER ISSUED A RECAL
             TO GET ALL THE CAR FIXED. IF YOU ARE DRIVING WITH
             YOUR FAILURE AT 50 MPE IN A HIGHWAY THE CAR WILL
             JUST GO OFF AND YOU CAN GET IMPACTED AT THE REAR
             WITH VERY HORRIBLE CONSEQUENCES. WILL MAZDA
             ISSUE A RECAL FOR SUCH A SERIES ISSUE?
   • October 25, 2017 – 2010 Mazda CX-9
             I HAVE A MAZDA CX9 2010, I GOT NO INDICATION THAT
             THERE WAS A PROBLEM WITH MY WATER PUMP. THE CARE
             DID NOT OVER HEAT, IT DID NOT STALL AND I WAS NO

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        STEAM COMING FROM THE CAR. I DROVE MY VEHICLE TO
        THE OTHER SIDE OF THE WATER MORE THAN 20 MILES
        FROM MY HOME, SO THAT I COULD GO TO WORK. IF IT
        WERE NOT FOR THE PHARMACIST AT MY JOB I WOULD
        HAVE GOTTEN IN MY CAR AND DROVE OFF. HE NOTICE A
        PUDDLE UNDER MY CAR AND ASKED ME TO COME OUTSIDE
        SO HE COULD INVESTIGATE THE SITUATION FURTHER. HE
        SAW WHERE THE FLUID WAS COMING FROM AND WENT
        UNDER THE CAR TO TOUCH THE FLUID AND FOUND THAT
        IT WAS MY ANTI-FREEZE. IF I KNEW I HAD A PROBLEM I
        WOULD HAVE NEVER DRIVEN THE CAR THAT FAR FROM
        HOME. I GOT A QUOTE FROM THE DEALER THAT IT WOULD
        COST ME $2050 TO REPAIR THE WATER PUMP. AS I DID
        RESEARCH, I FOUND THAT THIS IS SOMETHING THAT GOES
        ON WITH THESE VEHICLES AND THERE IS NO REAL WAY
        AROUND HAVING TO PAY THE DEALER THAT TYPE OF
        MONEY TO REPAIR THEPROBLEM BECAUSE OF THE WAY
        THE PUMP IS PLACED INSIDE OF THE ENGINE CAVITY. . . . I
        THANK GOD THAT I WAS NOT ON THE HIGHWAY. I COULD
        HAVE DIED THAT DAY.
• May 17, 2019 – 2010 Mazda CX-9
        THE ENGINE OVERHEATED WHILE DRIVING ON A HIGHWAY
        AT HIGH SPEED AND FAILED WITHOUT WARNING. AFTER
        INVESTIGATION IT WAS FOUND THAT WATER PUMP
        MALFUNCTIONED FORCING COOLANT INTO THE ENGINE. IT
        IS NOT COMPLETELY INOPERABLE AND THE CAR HAS ONLY
        AROUND 80,000 MILES ON IT. THIS IS A MAJOR SAFETY
        ISSUE! THE CAR WAS SERVICED AND OIL CHANGED JUST A
        FEW MONTHS BEFORE THIS HAPPENED. THIS IS A MAJOR
        DESIGN FLAW ON MAZDA’S PART, WHICH THEY SEEM TO
        KNOW ABOUT AND NEVER ISSUED A RECALL TO GET ALL
        THE CARS FIXED. REPLACING AN ENGINE IS NOT
        SOMETHING MOST FAMILIES HAVE THE BUDGET FOR OR
        EVEN THINK ABOUT WHEN THE CAR IS LESS THAN 10
        YEARS OLD. THERE WERE NO WARNING SIGNS OF WATER
        PUMP FAILURE. MAZDA NEEDS TO WARN CX-9 OWNERS
        WITH TSB OR RECALL THE WATER PUMP. THE WATER PUMP
        IS NOT BURIED INSIDE THE ENGINE AND CANNOT BE
        VISUALLY INSPECTED. HAVING A VEHICLE SHUT OFF

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            ABRUPTLY WHEN TRAVELING AT HIGH SPEEDS IS A
            SERIOUS RISK FOR BOTH DRIVER, VEHICLE OCCUPANTS
            AND SURROUNDING MOTORISTS. I HOPE NHTSA TAKES
            THIS COMPLAINT SERIOUSLY AND TAKES ACTION BEFORE
            A SERIOUS OR FATAL INJURY OCCURS.

      109. Moreover, as is the case with the NHTSA complaints pertaining to the

Class Vehicles, several of the NHTSA complaints pertaining to the Mazda vehicles

detailed grave safety concerns, including the following:

   • December 27, 2017 – 2012 Mazda CX-9
            IF WATER PUMP FAILS THE ENGINE WILL SHUT DOWN
            WITHOUT WARNING OR ANY TYPE OF CHECK ENGINE
            LIGHT OR ALERT. COOLANT WILL FLOOD CRANKCASE
            IMMEDIATELY AND RUIN THE ENGINE. THIS OCCURRED
            WHILE DRIVING CREATING A SERIOUS SAFETY ISSUE
            POTENTIALLY CAUSING A COLLISION.
   • January 13, 2018 – 2012 Mazda CX-9
            WHILE DRIVING MY VEHICLE ON THE HIGHWAY MY CAR
            WOULD NOT ACCELERATE WHEN I PRESSED ON THE GAS.
            MY RPM’S WENT UP TO 4 AND WOULD DROP DOWN WHEN I
            LET OFF THE GAS. WITHIN MINUTES MY STEERING WHEEL
            LOCKED UP AND THE CAR BASICALLY SHUT DOWN. I HAD
            TO TRY AND DRIFT TO THE SHOULDER IN HIGH SPEED
            TRAFFIC. WHEN I GOT TO THE SHOULDER THE CAR
            STARTED SMOKING. I HAD THE CAR TOWED TO MAZDA
            DEALERSHIP. THEY TOLD ME MY WATER PUMP WENT AND
            LEAKED FLUID THROUGHOUT THE ENGINE, RESULTING IN
            ME NEEDING A NEW $8,000 ENGINE. THEY TOLD ME THAT
            MAZDA DESIGNED THE CX9 WHERE THE WATER PUMP IS IN
            THE ENGINE BLOCK BEHIND THE TIMING BELT AND IT IS
            NOT SOMETHING THEY CAN EASILY INSPECT WHEN I BRING
            MY CAR IN FOR SERVICE. SO WHEN A WATER PUMP GOES
            ON THESE MAZDA CX-9’S IT RESULTS IN THE CONSUMER
            NEEDING A WHOLE NEW ENGINE. THEY ALSO STATED
            THAT THERE ARE NO INDICATORS THAT WILL NOTIFY YOU
            IF THERE IS A PROBLEM WITH THE WATER PUMP TO AVOID

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            THIS FROM HAPPENING. THE SAFETY ISSUE IS THAT MY
            CAR WAS ON THE HIGHWAY AT THE TIME THIS OCCURRED
            WITH VEHICLES GOING AT HIGH SPEEDS. MY CAR
            BASICALLY SLOWED DOWN SIGNIFICANTLY AND
            EVENTUALLY STOPPED AND I COULD NOT TURN THE
            STEERING WHEEL TO BETTER ASSIST ME GETTING OUT OF
            THE WAY OF THE HIGH SPEED TRAFFIC.
   • July 18, 2018 – 2010 Mazda CX-9
            WHILE TRAVELING 65MPH ON HIGHWAY WITH FAMILY THE
            VEHICLE SHUT DOWN, ENGINE LIGHT APPEARED AND WE
            NEARLY WERE STRUCK BY ANOTHER VEHICLE WHEN
            PULLING OVER. CX-9 WAS TOWED 75 MILES TO MECHANIC
            WHO INFORMED US COOLANT ENTERED THE ENGINE FROM
            FAILED WATER PUMP AND ENGINE NEEDS REPLACEMENT
            ($4000). MAZDA SERVICE MANAGER CONFIRMED THIS IS
            NOT UNCOMMON AND CONFIRMED ENGINE WILL NEED TO
            BE REPLACED. WHEN RESEARCHING CX-9 WATER PUMP
            FAILURE ONLINE      I  FOUND   MANY    DISTURBING
            TESTIMONIALS OF OTHER CX-9 OWNERS WITH SIMILAR
            EXPERIENCES. THERE WERE NO WARNING SIGNS OF WATER
            PUMP FAILURE. MAZDA NEEDS TO WARN CX-9 OWNERS
            WITH TSB OR RECALL THE WATER PUMP. THE WATER PUMP
            IS NOT BURIED INSIDE THE ENGINE AND CANNOT BE
            VISUALLY INSPECTED. HAVING A VEHICLE SHUT OFF
            ABRUPTLY WHEN TRAVELING AT HIGH SPEEDS IS A
            SERIOUS RISK FOR BOTH DRIVER, VEHICLE OCCUPANTS
            AND SURROUNDING MOTORISTS. I HOPE NHTSA TAKES
            THIS COMPLAINT SERIOUSLY AND TAKES ACTION BEFORE
            A SERIOUS OR FATAL INJURY OCCURS.

                   Defendant Knew About the Water Pump Defect Through,
                   and as Reflected by, Online Complaints

      110. Numerous purchasers and lessees of Class Vehicles have also posted

about their experiences with the Water Pump Defect in the Class Vehicles on internet

forums created for the discussion of particular vehicle models. Among others, these



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forums include: FordFlex.net, FordTaurus.net and ExplorerForum.com. These

complaints, detailing both the failures and the responses of Defendant and Ford

authorized dealerships, began at least by July 2008. The following excerpts are

examples of such online complaints concerning the Water Pump Defect, and

customers’ contact with Ford about the Defect, posted to online forums such as

FordEdgeForum.com, FordFlex.net, ExplorerForum.com, and FordTaurus.net:

   • July 19, 2008: 2007 Ford Edge:
            2007 SEL AWD. Been through the seal problems. After 2/3 times got
            that fixed. Wife gets to works Tuesday and notices a lot of liquid
            running from front left, coating wheel well, running back through
            frame. Has to be a couple quarts. Calls me and it is brown and slippery.
            I think seal leak. Check oil. ok. Check transmission. Ok. Visually check
            brake fluid, other radiator hoses etc. All appear ok. I go over at end of
            day when she starts it and only a drip or two on ground of new parking
            space. Dealer says bring right in. We do next day and again only about
            a half dollar sized spot on driveway. Same brown. They can't find for
            first day. Do dye test, and call and tell us water pump. Also that it is 13
            hours labor because of where it is located. And will take 4-5 days to get
            part and fix. Warranty, so for now cost is not an issue, but at this rate I
            can't see keeping at end of lease.

   • September 2, 2013: 2007 Lincoln MKX
            I just bought a used a 2007 lincoln MKX less than a month ago. I was
            driving home and it started overheating so I pulled over and it was
            leaking coolant. Got it towed home and looked at it the next day and all
            the coolant had drained out. I put water back into the radiator and right
            away the water started leaking out on the front passengers side. I turned
            the engine on and I can hear the water pump whining like the bearing
            is going bad. My question is if it was a bad water pump that was leaking
            would water be able to leak out of the front engine cover? Or is it more
            likely the head gasket blew and it has an external coolant leak. After
            running it for a little bit water started getting into the oil and the water



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        that was leaking out had oil in it too. I'm just hoping its just the water
        pump and not also a bad head gasket.

• February 14, 2014: Ford Edge Forum
        I did call the ford dealer today jan 1 2014 and they confirmed that a
        leaking internal waterpump on these engines(3.5L v6/duratec 35) can
        leak coolant into the water...seems like a design flaw that should be
        recalled.

• March 24, 2014: Ford Flex
        Thursday I go out to the garage a notice a ton of coolant all over the
        ground . . . It looks like it is coming from the water pump . . . The
        dealership told me to call Ford Customer Care for assistance, that they
        might be able to help me out in some way. WOW, that was a rude call,
        told me I had no coverage and asked why I bothered to call them.

• March 25, 2014: 2011 Ford Explorer
        I hate being the guy that joins only to have his first post be about
        needing help, but I’ve been lurking here for the better part of a year and
        now have a depressing reason to reach out for assistance.

        This is long, so the summary is 1k miles over warranty, water pump
        failed without any check engine light or rise in engine temperature, this
        lead to complete engine failure, dealer wants $7300 to replace engine
        and Ford won’t help . . .

        On March 15, 2015, I loaded up the family (wife, 6 year old, 3 year old,
        and 6 month old) in Phoenix, AZ for a quick four day vacation in
        California during Spring Break. Somewhere around Desert Center, CA,
        aka the middle of the desert, I started hearing a faint rattle under the
        hood when the tranny downshifted in order to maintain cruise control
        speed . . . The problem continued to worsen over the next 10 minutes
        until the engine completely lost power . . . I called AAA and after being
        stranded in the desert for three hours, we finally had the car towed to
        Fiesta Ford in Indio, CA. Anyone ever been without A/C in the desert
        for three hours with a 6 month old baby? Not fun . . . The car had 61k+
        miles on it at the time, a mere 1k over the 60k powertrain warranty (but
        still under the 5 year), when Fiesta asked if I wanted to spend $2300 to
        break the engine down in order to see what happened and to see if Ford
        would warranty it. I felt pretty stuck at this point so I said sure. I’m 300

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        miles from home, no car, vacation ruined, and I need to safely get my
        family home somehow.

        After spending $350 in renting a minivan to drive home, I hear back
        from Fiesta. The results were failed water pump which lead to complete
        engine failure and it was going to cost $7300 to put a new engine in.
        When the regional Ford rep reviewed the case, they denied the claim
        because 1) I’m 1k over the warranty, 2) I’m not the original owner and
        3) I don’t have enough Ford Loyalty . . . The dealer told me coolant
        entered the engine when the water pump failed.

        The mystery behind it is what gets me. No rise in temperature, no
        notification when things were not right, no steam coming out of the
        hood, no white smoke out the exhaust, just a slow power loss over 10
        minutes with some weird rattle coming from the front of the car. Then
        when the car is finally stopped, I get a low engine oil light and a check
        engine light P0017. The car wasn't dripping any fluid when I was
        stopped. You can kind of see from the picture the area is totally dry.

• December 23, 2015: 2010 Ford Flex
        Catastrophic Water pump Failure Lots of Coolant in Oil, $7,000 repair

        I own a NA 2010 Ford Flex with about 151k on the clock. Posted some
        info in another post but decided this needs it own thread. My Flex
        sudden stopped last week, had it towed home to see what issue could
        be. After researching and most helpful info on htis site determined was
        water pump. Had Flex towed to local dealer to have diagnosed. Ford
        dealer started work on Monday and determined yes was water pump.
        Goto today Wednesday and got some picks from dealer showing was
        catastrophic failure. Went to Ford this afternoon and took some pix.
        Water pump was nearly completely destroyed.

• September 23, 2015: 2011 Taurus
        2011 SEL with 115k on the clock and my water pump failed. No
        warning, no dripping from the weep holes, coolant temperature light
        came on and gauge pegged. Found reserve bottle empty, (just did an oil
        change and checked fluids. Coolant was ok.) Checked the dip stick,
        approx. 3 qt. over full and milky in color. No noise or any pre-indication
        that this memorable event was going to happen.



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        As you are aware, the water pump is timing chain driven and located
        behind the timing cover. So if there is a failure, the coolant goes into
        the crankcase and mixes with the oil. UGH!

        Called several of the local dealers today, two weeks before they could
        get it done. Parts and labor estimate from everybody I called, around
        $1,400. Took it to a local repair guy who completed the repair in a few
        days. What we found was that the pump bearing failed and allowed the
        coolant to dump into the crankcase. Luckily, I shut the engine off in the
        nick of time, and after two oil changes the engine did not suffer a
        catastrophic failure.

• January 23, 2016: 2010 Ford Edge Limited
        Hi. I am new to the Forum, but have been doing extensive searches on
        this problem. I think we are just seeing the tip of the iceberg. I am
        finding other drivers who have experienced catastrophic engine failure
        due to water pump leak/fail on Ford products due to the design of this
        engine.

        If you have coolant in the engine oil, your engine has been
        compromised!

        This Duratec 35 engine/water pump system is on the 2007-2014 Ford
        Edge, 2007-2010 Lincoln MKX, 2007-2014 Lincoln MKZ, 2008-2014
        Ford Taurus, 2008-2009 Ford Taurus X, 2008-2009 Mercury Sable,
        2009-2004 Ford Flex, 2012-2012 Ford Fusion Sport, and 2011-2014
        Ford Explorer.

        To see the true scope of the problem, you need to look at ALL of these
        forums. I found this one by searching only on ‘Duratech 35 problems’
        without specifying a model.

        I am a young man, limited budget, first child on the way, from a Ford
        loving family. Bought my 2010 Ford Edge Limited for $15000, just 10
        months ago. Certified pre-owned from the same well respected Ford
        Dealership where the original owner had purchased it and just recently
        traded it in.

        I have just experienced what can only be called a catastrophic failure at
        88000 miles due to water pump leaked and contaminated the engine oil
        with coolant.... $2300 quoted to replace water pump only, but told

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        really need to replace engine too as bearings may be damaged ... total
        $7000 . . .

        The rest of the story can be found by searching the internet. The internal
        water pump (what were they thinking?) leaked coolant into the engine
        oil. Almost simultaneously, the sensor recognized a problem in the
        engine due to contaminated oil/bearings coming apart/oil pressure
        dropping just as coolant had dropped to a level that caused temperature
        to rise.

        NOTE: The engine never seized. It sounds fine. BUT the engine oil is
        contaminated with lubricant. I could probably change the oil and drive
        another ?? how many miles ?? before the bearings finally go due to the
        damage caused by the contamination! I think this is what happened to
        you.

        I think Ford is praying that these incidents remain isolated and
        unpublished. You won't see a recall. I wonder how many of these have
        happened under warranty, so we don't hear about them?

        But we ALL know that water pumps do not have the same life span as
        the engine. Now we also know that these vehicles have a design that
        has the potential to take out the motor with it when it fails... so what
        does it matter if it fails within warranty OR at anytime after 60,000
        miles? Since when is this acceptable?

• May 18, 2016: 2013 Ford Taurus
        2013 Ford Taurus SEL 3.5 V6--completely loaded sans the ECO boost.
        Original owner, bought new in August 2012. Still have one year left of
        $500 a month payments.

        Water pump failure at 88,000 miles. No warranty. Car has always been
        dealer serviced as per owner’s manual. Luckily, our’s started leaking
        out the weep hole behind the alternator and not internally into the
        engine. Pulled in for gas and noticed steam coming from engine
        compartment. Closer examination, I found the leak and took it back
        home.

        Estimate for repair: $3500. They recommend all the timing components
        also be replaced at this time as the chains and tensioners must be
        removed. ESTIMATED TIME FOR REPAIR: 2-3 MONTHS!!!!!!!

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        Ford cannot keep up with the demand on the water pumps and there is
        a National back order. They are not available aftermarket. If you wish
        to plunk down $8500 for a new engine, they can get you up in 2 weeks.

        That is a load of crap. If anyone wants to start a class-action lawsuit, or
        if anyone knows of one already, I am willing and able to join.

        I will never, ever buy another Ford.

        Had to go buy another car. Toyota this time.

• November 30, 2016: 2013 Ford Taurus
        I have 2013 Ford Taurus SEL, 3.5L engine. My water pump failed at
        95k miles! My wife was driving on the freeway when she noticed the
        Engine temp coolant go to High and she stopped and called me, luckily.
        I noticed leaking under the engine. I was gonna tackle the job myself
        but I noticed that the water pump is not outside, I looked at the forums
        and found that it is behind a cover plate and run off the timing chain,
        damn difficult job for me. So, I took it to the dealer to evaluate and
        repair, they told me it was a water pump failure and charged me over
        $1600 ! Looking at these forums, it seems that is not uncommon for the
        3.5l engine. I hope ford does the right thing and re-imburse me or give
        me $1600 credit. Hell I've owned 3 fords in 5 yrs.

• November 30, 2016: 2011 Ford Taurus
        I have a 2011 Ford Taurus Limited 3.5L that I have owned since 2012.
        I purchased it used with 20k miles and have been diligent with
        maintenance since I purchased it. 2 days ago, as I was driving home
        from a weekend trip. My temperature sensor suddenly came on and the
        temperature gauge barried itself. I slowed down and coast the car into
        a gas station about 1-2 miles down the road . . . The owner of the gas
        station came out and took a look and said he thought it was the water
        pump . . . In the morning I went to check on the vehicle and that's when
        we discovered the coolant in the engine. I called Ford and their head
        mechanic told me that this is a common problem with late model Fords
        and they are designed in a manner that the coolant will pour into the
        engine if the water pump fails and will destroy the engine.

        At this point I have to have it towed 180 miles to the Ford dealership
        where I live to find out if I need a new engine or will be able to just


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             replace the water pump and flush the engine. My guess...I'll need a new
             engine!

             Just wanted to share my story as one of obviously many others due to
             an extremely poor mechanical design by Ford. My family has always
             owned fords but now, knowing that this is how they are building
             cars...this will be the last!! I will never buy a Ford product again!

   • January 10, 2018: 2010 Ford Flex SEL
             Truly grateful to have found this thread. I don't usually post to boards,
             but wanted to share my experience in the hopes that it might help others,
             as this forum was a help to me.

             Add my 2010 Ford Flex SEL to the list of those who have had water
             pump failure (after having PTU failure last summer). Vehicle has
             90,000 miles . . .

             Mad at Ford and knowing it was going to cost a ton to fix, I took it to a
             reputable independent shop. Their response? “We can't fix this. 10+
             hours of labor and need special tools. And even if we could, we
             wouldn't recommend it. Once engine has been contaminated by coolant
             it will never be right again. Take it to a dealer if you want to try and fix
             it”. Called my dealership and they confirmed that this is something they
             have seen many times . . . I have to question the intelligence of how
             certain components in this vehicle were designed. What’s next?

                    Defendant’s Knowledge of the Water Pump Defect Is
                    Demonstrated by the Development History of the Internal
                    Water Pump

      111. Ford’s pre-sale knowledge of the Water Pump Defect is further

demonstrated by the development history of the internal water pump, and Ford’s

decision to use a different design in other vehicles.

      112. Specifically, Ford designed the Cyclone Engine with an internal water

pump to minimize the size of the engine in order for it to fit in the same engine

compartment as its predecessor, despite potential risks associated with this design.

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      113. In order to save space, the design included placement of the water pump

above the crankshaft in the center of the engine, knowing any coolant leak would

mix with engine parts and oil.

      114. The design decision to use an internal water pump in the Ford Cyclone

Engine was to minimize the size of the engine when used in front-wheel/all-wheel

drive configuration. (See Bill Visnic, Ford Duratec 35 Thrives on Simplicity,

WARDSAUTO (Feb. 21, 2007), https://www.wardsauto.com/node/23175). Before

deciding to use this design, Ford engineers would have understood the potential risk

associated with this new design.

      115. Notably, when the Cyclone Engine (3.5L or 3.7L) is used in rear-wheel

drive configuration (where space minimization is not a design constraint), the water

pump is mounted external to the engine block (See, Mustang and F-150). As such,

when given a design choice not constrained by size minimization, Ford engineers

knew to choose a less dangerous, external water pump over an internal water pump

in the Ford Cyclone Engine when used in rear-wheel drive configuration.

      116. Ford also attempted to fix its flawed water pump multiple times, which

further shows that Ford engineers were aware of the Water Pump Defect. However,

none of these revisions addressed the root cause of the Water Pump Defect or fixed

the Defect.




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      117. While Ford knew about the Water Pump Defect, Ford never replaced

the defective water pumps in vehicles that had already been sold to Class members,

denied warranty coverage when those water pumps failed and when engines were

destroyed as a result of the Defect, and to this day continues to conceal the Water

Pump Defect from the public.

                   Ford’s Knowledge of the Water Pump Defect is also
                   Reflected in Ford’s Visual Inspection Charts

      118. Ford’s pre-sale knowledge that the water pumps in Class Vehicles are

prone to failure before the useful life of the engine is also shown through Ford’s

Visual Inspection Charts used by mechanics and dealerships.

      119. Ford has historically recommended that mechanics visually inspect the

coolant/water pump as part of routine maintenance procedures. For example, for

vehicles with external water pumps, such as the 2008-2011 3.0L Ford Escape (which

uses the predecessor engine to the Cyclone Engine), Ford’s Visual Inspection Chart

instructs mechanics to visually inspect for the following: (1) Leaks or weeps at:

coolant pump; and (2) Cracked or damaged: coolant pump.

      120. These two necessary inspection tasks are, however, cost-prohibitive for

vehicles containing the Ford Cyclone Engine with an internal water pump (e.g., a

FWD/AWD Ford Edge) owing to the water pump’s inaccessible placement in the

engine.




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      121. Despite being cost prohibitive, as reflected below, these identical and

necessary inspection tasks were listed in the Visual Inspection Chart for the early

model years of the Class Vehicles, such as the 2007 Lincoln MKZ, 2008 Ford

Taurus, 2008 Mercury Sable, and 2008 Ford Edge.

2007 Lincoln MKZ




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2008 Ford Taurus




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2008 Mercury Sable




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2008 Ford Edge




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      122. In plain recognition that premature water pump failure could

contaminate the engine oil, in these Visual Inspection Charts, Ford also included the

visual inspection task of inspecting for “Coolant in engine oil” and advised: “If there

is engine coolant in the engine oil or transmission fluid, the cause must be corrected

and oil/fluid changed or major component damage can occur.”

      123. In or around 2009, in an attempt to conceal the cost prohibitive – but

needed – coolant pump specific inspection tasks, as reflected below, Ford amended

its Visual Inspection Chart for the 2009 model year Class Vehicles by eliminating

the task to visually inspect the coolant pump for cracks or damages. Ford also

amended its Visual Inspect Chart for the 2009 model year Class Vehicles by

eliminating the task of visually inspecting the water pump, and instead only

requiring inspection for leaks and weeps at the water pump weep hole at the left hand

side of the engine block, which is outside of the engine block and easily accessible.




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      124. The elimination of these inspection tasks, however, did not reflect an

elimination of the problem and Ford continued to advise mechanics to visually

inspect for “Coolant in engine oil.”

      125. Notably, throughout this same period, for Ford vehicles which do not

have internal water pumps, such as or the 2011-2017 3.7L RWD Ford Mustang

(which uses a Cyclone Engine with an external water pump), Ford continued to

instruct mechanics to visually inspect the water pump for leaks, weeps, cracks and

damage.

      126. However, acknowledging the importance of inspecting the water pump

as part of the inspection and verification of the cooling system, Ford began amending

the Visual Inspection Charts for Class Vehicles to again include the cost-prohibitive

task to inspect the coolant pump for cracks or damages.


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      127.   These amendments confirm that Ford has long known, but concealed

the fact, that the inspection of the coolant pump is a necessary task. Nevertheless,

this inspection task is cost prohibitive for vehicles with the Ford Cyclone Engine

with an internal water pump owing to the water pump’s inaccessible placement

inside the engine block.

V.    TOLLING OF THE STATUTE OF LIMITATIONS AND ESTOPPEL

      128. Any applicable statute of limitations has been tolled by Defendant’s

knowing and active concealment of the Water Pump Defect and the

misrepresentations and/or omissions alleged herein. Through no fault or lack of

diligence, Plaintiff and members of the Class were deceived regarding the Class

Vehicles and could not reasonably discover the Water Pump Defect or Defendant’s

deception with respect to the Defect.

      129. Plaintiff and members of the Class did not discover and did not know

of any facts that would have caused a reasonable person to suspect that Defendant

was concealing a Defect and/or that the Class Vehicles contained a Water Pump

Defect and corresponding safety risk. As alleged herein, the existence of the Water

Pump Defect was material to Plaintiff and members of the Class at all relevant times.

Within the time period of any applicable statutes of limitations, Plaintiff and

members of the Class could not have discovered through the exercise of reasonable




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diligence the existence of the Water Pump Defect or that Defendant was concealing

the Defect.

      130. At all times, Defendant is and was under a continuous duty to disclose

to Plaintiff and members of the Class the true standard, quality, and grade of the

Class Vehicles and to disclose the Water Pump Defect and corresponding safety risk.

      131. Defendant knowingly, actively, and affirmatively concealed the facts

alleged herein. Plaintiff and members of the Class reasonably relied on Defendant’s

knowing, active, and affirmative concealment.

      132. For these reasons, all applicable statutes of limitation have been tolled

based on the discovery rule and Defendant’s fraudulent concealment, and Defendant

is estopped from relying on any statutes of limitations in defense of this action.

VI.   CLASS ACTION ALLEGATIONS

      133. Plaintiff brings this action pursuant to Federal Rules of Civil Procedure

23(a) and 23(b)(3) on behalf of the following Class:

      All persons who purchased a Class Vehicle from an authorized dealer
      in New York for personal, family, or household purposes (the “New
      York Class” or “Class”).

      134. Excluded from the Class are Defendant and its parents, subsidiaries,

and corporate affiliates. Plaintiff reserves the right to revise the definition of the

Class based upon subsequently discovered information and reserve the right to

establish additional sub-classes where appropriate.


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      135. The Class is so numerous that joinder of all members is impracticable.

Plaintiff believes that there are at least thousands of proposed members of the Class

throughout the United States.

      136. Common questions of law and fact exist as to all members of the Class

and predominate over any issues solely affecting individual members of the Class.

The common and predominating questions of law and fact include, but are not

limited to:

          • Whether the Class Vehicles contain the Water Pump Defect;

          • Whether the Water Pump Defect is a design defect;

          • Whether the Water Pump Defect in the Class Vehicles presents a safety

              risk;

          • Whether and when Defendant knew or should have known about the

              Water Pump Defect;

          • Whether Defendant knew or should have known that the Water Pump

              Defect in Class Vehicles presents a safety risk;

          • Whether Defendant had a duty to disclose the Water Pump Defect and

              associated safety risk;

          • Whether Defendant breached its duty to disclose the Water Pump

              Defect and associated safety risk;




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         • Whether       Defendant   intentionally   and   knowingly     concealed,

            suppressed, and/or omitted material facts concerning the standard,

            quality, or grade of the Class Vehicles and/or the Water Pump Defect;

      137. Whether Defendant made material omissions concerning the standard,

quality, or grade of the Class Vehicles and/or the Water Pump Defect;

         • Whether members of the Class would pay less for a Class Vehicle if

            Defendant, at the time of purchase, disclosed the Water Pump Defect;

         • Whether members of the Class would have purchased a Class Vehicle

            if Defendant, at the time of purchase, disclosed the Water Pump Defect;

         • Whether Defendant actively concealed material facts from Plaintiff and

            members of the Class in order to, inter alia, sell more Class Vehicles

            and/or transfer repair or replacement costs to Plaintiff and members of

            the Class;

         • Whether Defendant violated New York General Business Law §349;

         • Whether Defendant violated New York General Business Law §350;

         • Whether Defendant breached the implied warranty of merchantability;

         • Whether Defendant committed fraud by omission or fraudulent

            concealment; and

         • Whether actual, overpayment, statutory, compensatory, and/or punitive

            damages, restitution, compulsory, or other relief is warranted.

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      138. Plaintiff’s claims are typical of the claims of the Class Plaintiff seeks

to represent. As alleged herein, Plaintiff and the Class sustained damages arising out

of the same unlawful actions and conduct by Defendant.

      139. Plaintiff is willing and prepared to serve the Class in a representative

capacity with all of the obligations and duties material thereto. Plaintiff will fairly

and adequately protect the interests of the Class and has no interests adverse to or in

conflict with the interests of the other members of the Class.

      140. Plaintiff’s interests are co-extensive with and are not antagonistic to

those of absent members within the Class. Plaintiff will undertake to represent and

protect the interests of absent members within the Class and will vigorously

prosecute this action.

      141. Plaintiff has engaged the services of the undersigned counsel. Counsel

is experienced in complex litigation, will adequately prosecute this action, and will

assert and protect the rights of, and otherwise represent, Plaintiff and absent

members of the Class.

      142. A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy. Plaintiff knows of no difficulty to be

encountered in the management of this litigation that would preclude its maintenance

as a class action.




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      143. Class action status is warranted under Rule 23(b)(3) because questions

of law or fact common to the members of the Class predominate over any questions

affecting only individual members, and a class action is superior to other available

methods for the fair and efficient adjudication of this controversy.

      144. The interest of members within the Class individually controlling the

prosecution of separate actions is theoretical and not practical. The Class has a high

degree of similarity and is cohesive, and Plaintiff anticipates no difficulty in the

management of this matter as a class action.

      145. The nature of notice to the proposed Class is contemplated to be by

direct mail upon certification of the Class or, if such notice is not practicable, by the

best notice practicable under the circumstance including, inter alia, email,

publication in major newspapers, and/or on the internet.

VII. CLAIMS FOR RELIEF

                                   COUNT I
        Violation of New York General Business Law (“NYGBL”) § 349
                          N.Y. Gen. Bus. Law § 349
                (On behalf of Plaintiff and the New York Class)

      146. Plaintiff incorporates by reference and re-alleges the allegations

contained in paragraphs 1-145 of this Complaint.

      147. Plaintiff brings this cause of action on his own behalf and on behalf of

the members of the New York Class.



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      148. Plaintiff and the New York Class members are “persons” within the

meaning of New York General Business Law (“New York GBL”). N.Y. Gen. Bus.

Law § 349(h).

      149. Ford is a “person,” “firm,” “corporation,” or “association” within the

meaning of N.Y. Gen. Bus. Law § 349.

      150. New York General Business Law § 349 makes unlawful “[d]eceptive

acts or practices in the conduct of any business, trade or commerce.” N.Y. Gen. Bus.

Law § 349. Ford’s conduct, as described in this Complaint, constitutes “deceptive

acts or practices” within the meaning of the New York GBL. All of Ford’s deceptive

acts and practices were intended to materially mislead consumers, including Plaintiff

and the New York Class members, regarding the existence of the Water Pump Defect

in the consumers’ processes of purchasing Class Vehicles. Ford’s deceptive acts and

practices constitute “consumer-oriented” conduct directed at consumers. Further,

Plaintiff and the New York Class members suffered injury as a result of the deceptive

acts and practices.

      151. Ford’s actions, as set forth above, occurred in the conduct of business,

trade or commerce.

      152. Ford participated in unfair or deceptive trade practices that violated the

New York GBL as described below and alleged throughout the Complaint. By

failing to disclose the Water Pump Defect as associated safety risk, by concealing


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the Water Pump Defect, by marketing its vehicles as safe, reliable, and of high

quality, and by presenting itself as a reputable manufacturer that valued safety,

reliability, and performance, and that stood behind its vehicles after they were sold,

Ford knowingly and intentionally misrepresented and/or omitted material facts in

connection with the sale of the Class Vehicles. Ford systematically misrepresented,

concealed, suppressed, and/or omitted material facts relating to the Class Vehicles

and Water Pump Defect in the course of its business.

      153. Ford also engaged in unlawful trade practices by employing deception,

deceptive acts, deceptive practices, fraud, misrepresentations, concealment,

suppression, and/or omission of any material fact with the intent that others rely upon

such concealment, suppression, and/or omission, in connection with the sale of the

Class Vehicles.

      154. Ford’s unfair and deceptive acts or practices occurred repeatedly in

Ford’s trade or business, were capable of deceiving a substantial portion of the

purchasing public, and imposed a serious safety risk on the public.

      155. Ford knew that the Class Vehicles and their internal water pumps

suffered from an inherent Defect, were defectively designed, and were not suitable

for their intended use.

      156. Ford knew or should have known that its conduct violated the New

York GBL.


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      157. Plaintiff and the Class members reasonably relied on Ford’s

misrepresentations and/or omissions of material facts in its advertisements of the

Class Vehicles and in the purchase of the Class Vehicles as a reasonable consumer

would.

      158. Had Plaintiff and the Class members known that the Class Vehicles

contain the Water Pump Defect, they would not have purchased the Class Vehicles,

or would have paid less for them. Plaintiff and Class members did not receive the

benefit of their bargain as a result of Ford’s misconduct and overpaid for the Class

Vehicles with the undisclosed Defect.

      159. Ford owed Plaintiff and the New York Class members a duty to disclose

the truth about the Water Pump Defect because Ford: (a) possessed superior and

exclusive knowledge of the design of the Class Vehicles and the Water Pump Defect;

(b) knew of the safety risk caused by the Defect; (c) intentionally concealed the

Defect from Plaintiff and the Class members; and/or (d) made incomplete

representations regarding the safety, quality and reliability of the Class Vehicles,

while purposefully withholding material facts from Plaintiff and the New York Class

members that contradicted these representations.

      160. Due to Ford’s superior and exclusive knowledge of the Defect, its

knowledge of the safety risk caused by the Defect, and/or its false representations

and/or omissions regarding the safety, quality, and reliability of the Class Vehicles,


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Ford had a duty to disclose to Class members that the Water Pump Defect and

associated safety risk. Having volunteered to provide information to Plaintiff and the

Class members, Ford had the duty to disclose not just the partial truth, but the entire

truth. These omitted and concealed facts were material because they are likely to

mislead a reasonable consumer and directly impact the value of the Class Vehicles

purchased by Plaintiff and the Class members. Longevity, durability, performance,

and safety are material concerns to Ford vehicle consumers. Ford represented to

Plaintiff and the Class members that they were purchasing vehicles that were

reliable, safe, of high quality, and containing engines and water pumps of advanced

and superior characteristics and technology as alleged throughout this Complaint,

when in fact the Class Vehicles contain the Defect and the likelihood that the internal

water pumps fail due to the Water Pump Defect only increases over time. Plaintiff

and the Class members relied on these material representations and/or omissions as

a reasonable consumer would.

      161. Plaintiff and the Class members suffered injury in fact to a legally

protected interest. As a result of Ford’s conduct, Plaintiff and the Class members

were harmed and suffered actual damages in the form of cost to repair, overpayment

damages and/or the diminished value of their vehicles.

      162. As a result of Ford’s conduct, Plaintiff and the Class members were

harmed and suffered actual damages as a result of Ford’s misrepresentations and/or


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omissions with regard to their Class Vehicles’ internal water pumps because they

purchased vehicles at inflated prices and which do not perform as advertised.

       163. As a direct and proximate result of Ford’s unfair or deceptive acts or

practices, Plaintiff and the Class members suffered and will continue to suffer injury

in fact and/or actual damages.

       164. Ford’s violations present a continuing risk to Plaintiff and the Class

members as well as to the general public. Ford’s unlawful acts and practices

complained of herein affect the public interest. Specifically: (1) the number of

consumers affected by Ford’s deceptive practices are at least in the thousands; (2)

Ford has significantly high sophistication and bargaining power with respect to the

manufacture and sale of the Class Vehicles to Plaintiff and New York Class

members; and (3) so long as the Class Vehicles continue to be sold and distributed

and driven with the Defect, the likelihood of continued impact on other consumers

is significant.

       165. Pursuant to N.Y. Gen. Bus. Law § 349(h), Plaintiff and each Class

member seek actual damages or $50, whichever is greater, in addition to

discretionary three times actual damages up to $1,000 for Defendant’s willful and

knowing violation of N.Y. Gen. Bus. Law § 349. Plaintiff and Class members also

seek attorneys’ fees, and any other just and proper relief available under the New

York GBL.


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                                  COUNT II
            Violation Of The New York General Business Law § 350
                           N.Y. Gen. Bus. Law § 350
                (On behalf of Plaintiff and the New York Class)

      166. Plaintiff incorporates by reference and re-alleges the allegations

contained in paragraphs 1-165 of this Complaint.

      167. Plaintiff brings this cause of action on his own behalf and on behalf of

the members of the New York Class.

      168. New York General Business Law § 350, the New York False

Advertising Act (“NY FAA”), makes unlawful “[f]alse advertising in the conduct of

any business, trade or commerce.” False advertising includes “advertising, including

labeling, of a commodity . . . if such advertising is misleading in a material

respect[,]” taking into account “the extent to which the advertising fails to reveal

facts material in the light of . . . representations [made] with respect to the

commodity . . . .” N.Y. Gen. Bus. Law § 350-a.

      169. Ford caused to be made or disseminated throughout New York, through

advertising, marketing, and other publications, representations that were untrue or

misleading, and which were known, or which by the exercise of reasonable care

should have been known to Ford, to be untrue and misleading to consumers,

including Plaintiff and the Class members.

      170. Ford violated the NY FAA because of the misrepresentations and/or

omissions alleged herein, including, but not limited to, Ford’s failure to disclose the

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Water Pump Defect, by concealing the Water Pump Defect, by marketing its

vehicles as safe, reliable, and of high quality, and by presenting itself as a reputable

manufacturer that valued safety, reliability, and performance, and stood behind its

vehicles after they were sold, Ford knowingly and intentionally misrepresented

and/or omitted material facts in connection with the sale of the Class Vehicles. Ford

systematically misrepresented, concealed, suppressed, and/or omitted material facts

relating to the Class Vehicles and Water Pump Defect in the course of its business.

      171. In purchasing the Class Vehicles, Plaintiff and the Class members were

deceived by Ford’s failure to disclose that the Class Vehicles contain a Water Pump

Defect that may result in failure of the Class Vehicles’ internal water pumps, causing

thousands of dollars in repair costs and can cause the Class Vehicles’ engines to

catastrophically fail and become inoperable while driving.

      172. Plaintiff and the New York Class members had no way of knowing that

Ford’s representations and omissions were false and misleading, that the Water

Pump Defect existed in the Class Vehicles, that the Defect can lead to costly water

pump or engine replacement, that the normal and intended use of the Class Vehicles

can cause the water pumps to fail, and/or that Ford would refuse to repair, replace,

or compensate Plaintiff and the New York Class members for the failure of the

defective water pumps and the known consequences of that failure to the Class




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Vehicles, including engine failure, and would instead transfer those costs to

consumers.

      173. Ford’s unfair or deceptive acts or practices, fraud, misrepresentations,

suppression, and/or omission of material facts were likely to, and did, in fact, deceive

reasonable consumers.

      174. Ford intentionally and knowingly misrepresented and/or omitted

material facts regarding the Class Vehicles with the intent to mislead Plaintiff and

the Class members.

      175. Ford knew or should have known that its conduct violated the NY FAA.

      176. Plaintiff and the New York Class members reasonably relied on Ford’s

misrepresentations and/or omissions of material facts in its advertisements of the

Class Vehicles and in their purchase of the Class Vehicles.

      177. Had Plaintiff and the New York Class members known that the Class

Vehicles contain the Water Pump Defect and may suffer water pump and/or engine

failure, they would not have purchased the Class Vehicles, or would have paid less

for them. Plaintiff and members of the New York Class did not receive the benefit

of their bargain as a result of Ford’s misconduct and overpaid for the Class Vehicles

with the undisclosed Defect.

      178. Ford owed Plaintiff and the Class members a duty to disclose the truth

about the Water Pump Defect because Ford: (a) possessed superior and exclusive


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knowledge of the design of the Class Vehicles and the Water Pump Defect; (b)

intentionally concealed the foregoing from Plaintiff and the Class members; and/or

(c) made incomplete representations regarding the safety, quality, and durability of

the Class Vehicles, while purposefully withholding material facts from Plaintiff and

the Class members that contradicted these representations.

      179. Due to Ford’s exclusive and superior knowledge of the existence of the

Defect and that the water pumps in the Class Vehicles may fail due to the Water

Pump Defect, its false representations and/or omissions regarding the safety, quality,

reliability, and durability of the Class Vehicles, and reliance by Plaintiff and the

Class members on these material representations and/or omissions, Ford had a duty

to disclose the Water Pump Defect and that Class Vehicles do not have the advertised

and expected safety, durability and reliability, that failure of the internal water

pumps can cause catastrophic and immediate damage to Class Vehicle engines and

engine systems, and that Class members would be required to bear the cost of the

damage to their vehicles. Having volunteered to provide information to Plaintiff and

the Class members, Ford had the duty to disclose not just the partial truth, but the

entire truth. These omitted and concealed facts were material because they are likely

to mislead a reasonable consumer and directly impact the value of the Class Vehicles

purchased by Plaintiff and the Class members. Longevity, durability, performance,

and safety are material concerns to Ford vehicle consumers. Ford represented to


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Plaintiff and the Class members that they were purchasing vehicles that were

durable, reliable, safe, of high quality, and containing engines and water pumps of

advanced and superior characteristics and technology as alleged throughout this

Complaint, when in fact the Class Vehicles contain the Defect and the likelihood

that the internal water pumps fail due to the Water Pump Defect only increases over

time.

        180. Plaintiff and the Class members were injured and suffered ascertainable

loss, injury in fact, and/or actual damage as a proximate result of Ford’s conduct in

that they overpaid for their Class Vehicles and did not receive the benefit of their

bargain, and their Class Vehicles have suffered a diminution in value. These injuries

are the direct and natural consequence of Ford’s misrepresentations, fraud, deceptive

practices, and/or omissions.

        181. Plaintiff and the New York Class members are entitled to recover their

actual damages or $500, whichever is greater. Because Ford acted willfully or

knowingly, Plaintiff and the New York Class members are entitled to recover three

times actual damages, up to $10,000.

                                   COUNT III
                 Breach of Implied Warranty of Merchantability
                            N.Y. U.C.C. Law § 2-314
                 (On behalf of Plaintiff and the New York Class)

        182. Plaintiff incorporates by references and re-alleges the allegations

contained in paragraphs 1-181 of this Complaint.

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      183. Plaintiff brings this cause of action on his own behalf and on behalf of

the members of the New York Class.

      184. Ford is and was at all relevant times a “merchant” with respect to motor

vehicles under N.Y. U.C.C. Law § 2-104(1), and a “seller” of motor vehicles under

§ 2-103(1)(d).

      185. The Class Vehicles are and were at all relevant times “goods” within

the meaning of N.Y. U.C.C. Law § 2-105(1).

      186. A warranty that the Class Vehicles were in merchantable condition and

fit for the ordinary purpose for which vehicles are used is implied by law under N.Y.

U.C.C. Law § 2-314.

      187. Ford knew or had reason to know of the specific use for which the Class

Vehicles were purchased. Ford directly sold and marketed vehicles equipped with

the defective water pumps to customers through authorized dealers, including those

from whom Plaintiff and the Class members bought their Class Vehicles, for the

intended purpose of consumers purchasing the vehicles. Ford knew that the Class

Vehicles would and did pass unchanged from the authorized dealers to Plaintiff and

the New York Class members, with no modification to the defective water pumps.

      188. Ford provided Plaintiff and New York Class Members with an implied

warranty that the Class Vehicles and their components and parts are merchantable




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and fit for the ordinary purposes for which they were sold, which is to provide safe

and reliable transportation.

      189. This implied warranty included, among other things: (i) a warranty that

the Class Vehicles and their water pumps that were designed, manufactured,

supplied, distributed, and/or sold by Ford were safe and reliable for providing

transportation; and (ii) a warranty that the Class Vehicles and their water pumps

would be fit for their intended use while the Class Vehicles were being operated.

      190. The Class Vehicles’ warranties were both substantively and

procedurally unconscionable.

      191. There was a significant inequality in bargaining power between

Defendant, a corporation with global reach that runs a national enterprise and

produces form warranties for its vehicles en masse, and Plaintiff and members of the

New York Class, who are individual consumers. As a result of this uneven

bargaining power, Plaintiff and members of the Class had no meaningful ability to

create or negotiate the warranty terms for their Class Vehicles, including the

durational limits of the express and implied warranties.

      192. Defendant set the durational warranty limitations while having superior

and exclusive knowledge of the Water Pump Defect. Defendant set the warranty

limitations with the knowledge that the Class Vehicles contained the Water Pump

Defect, that the Water Pump Defect poses a serious safety risk, that the likelihood


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of water pump failure increases over time and is likely to occur after the warranty

durational limits, that water pump failure can cause sudden, catastrophic engine

failure, and that repairs resulting from water pump failure can cost thousands of

dollars. With this knowledge, Defendant set the durational warranty limitations at a

point where Plaintiff and the Class members were likely to experience water pump

failures outside of their warranty period, wrongfully transferring the cost of the

associated repairs to Plaintiff and the Class members. Indeed, the water pump in

Plaintiff Militello’s Class Vehicle failed approximately 1,300 miles outside of the

warranty period Ford had dictated.

      193. Contrary to the applicable implied warranties, the Class Vehicles and

their water pumps at the time of sale and thereafter were not fit for their ordinary

and intended purpose of providing Plaintiff and the Class members with reliable,

durable, and safe transportation. Instead, the Class Vehicles are defective, including,

but not limited to, the defective design and/or manufacture of their water pumps and

the existence of the Water Pump Defect at the time of sale and thereafter. The Water

Pump Defect can cause water pump failure and resultant in immediate, catastrophic

engine failure while driving, posing a serious safety risk. Ford knew of this defect

and the safety risk at the time of sale of the Class Vehicles, but failed to disclose the

Defect and associated safety risk to Plaintiff and members of the New York Class.




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      194. As a result of Ford’s breach of the applicable implied warranties of the

Class Vehicles, Plaintiff and the New York Class members suffered an ascertainable

loss of money, property, and/or value of their Class Vehicles. Plaintiff and members

of the New York Class did not receive the benefit of their bargain as a result of

Ford’s misconduct and overpaid for the Class Vehicles with the undisclosed Defect.

      195. Ford’s actions, as complained of herein, breached the implied warranty

that the Class Vehicles were of merchantable quality and fit for such use in violation

of N.Y. U.C.C. Law § 2-314.

      196. Plaintiff and the New York Class members have complied with all

obligations under the warranty, or otherwise have been excused from performance

of said obligations as a result of Ford’s conduct described herein.

      197. Plaintiff and the New York Class members were not required to notify

Ford of the breach because affording Ford a reasonable opportunity to cure its breach

of written warranty would have been futile. Ford was also on notice of the Water

Pump Defect from the complaints and service requests it received from Plaintiff and

the New York Class members, from repairs and/or replacements of the water pumps,

and through other internal sources.

      198. As a direct and proximate cause of Ford’s breach, Plaintiff and the New

York Class members suffered damages and continue to suffer damages, including




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economic damages at the point of sale, overpayment damages, cost to repair, and/or

diminution of value of their Class Vehicles.

      199. As a direct and proximate result of Ford’s breach of the implied

warranty of merchantability, Plaintiff and the New York Class members have been

damaged in an amount to be proven at trial.

                                  COUNT IV
                Fraud by Omission or Fraudulent Concealment
                (On behalf of Plaintiff and the New York Class)

      200. Plaintiff incorporates by references and re-alleges the allegations

contained in paragraphs 1-199 of this Complaint.

      201. Plaintiff brings this cause of action on his own behalf and on behalf of

the members of the New York Class.

      202. Defendant intentionally and knowingly concealed, suppressed, and/or

omitted material facts including the standard, quality, or grade of the Class Vehicles

and the fact that the Class Vehicles contain a Water Pump Defect and corresponding

safety risk, with the intent that Plaintiff and members of the New York Class rely on

Defendant’s omissions. As a direct result of Defendant’s fraudulent conduct,

Plaintiff and members of the Class have suffered actual damages. Plaintiff and

members of the New York Class did not receive the benefit of their bargain as a

result of Ford’s misconduct and overpaid for the Class Vehicles with the undisclosed

Defect.


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      203. Defendant knew (at the time of sale and thereafter) that the Class

Vehicles contained the Water Pump Defect, yet, Defendant concealed the Defect,

and never intended to repair or remedy the Water Pump Defect during the warranty

periods. To date, Defendant has not provided Plaintiff and members of the New York

Class with a repair or remedy for the Water Pump Defect.

      204. Defendant owed a duty to disclose the Water Pump Defect and its

corresponding safety risk to Plaintiff and members of the New York Class because

Defendant possessed superior and exclusive knowledge regarding the Defect,

because the Defect presented a safety risk, and/or because Ford made a partial

disclosure regarding the safety and reliability of the Class Vehicles. Defendant also

owed a duty to disclose the Water Pump Defect and its corresponding safety risk

because the Motor Vehicle Safety Act, 49 U.S.C. § 30118(c), places a duty on

manufacturers to report vehicle defects. Rather than disclose the Defect, Defendant

intentionally and knowingly concealed, suppressed, and/or omitted material facts

regarding the standard, quality, or grade of the Class Vehicles and the presence of

the Water Pump Defect and corresponding safety risk, to sell additional Class

Vehicles at inflated prices and avoid the cost of repair or replacement of the internal

water pumps in the Class Vehicles.

      205. The Water Pump Defect is material to Plaintiff and members of the

New York Class. Plaintiff and members of the New York Class had a reasonable


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expectation that the Class Vehicles would not contain a known Defect, such as the

Water Pump Defect, that leads to exorbitant repair costs and exposes them and other

vehicle occupants to a safety risk. No reasonable consumer expects a vehicle to

contain a concealed Defect in design, such as the Water Pump Defect, that can lead

to thousands of dollars in repair or replacement costs, and can cause catastrophic

engine failure with little to no warning or time to take preventative measures or

safely remove the vehicle from the road.

      206. Plaintiff and members of the       New York Class would not have

purchased the Class Vehicles but for Defendant’s omissions and concealment of

material facts regarding the nature and quality of the Class Vehicles and existence

of the Water Pump Defect and corresponding safety risk, or would have paid less for

the Class Vehicles.

      207. Defendant knew its concealment and suppression of material facts was

false and misleading and knew the effect of concealing those material facts.

Defendant knew its concealment and suppression of the Water Pump Defect would

sell more Class Vehicles and would discourage Plaintiff and members of the New

York Class from seeking replacement or repair of the Water Pump Defect during the

applicable warranty periods. Further, Defendant intended to induce Plaintiff and

members of the Class into purchasing the Class Vehicles at inflated prices and to




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discourage them from seeking replacement or repair of the Water Pump Defect

during the warranty period in order to decrease costs and increase profits.

          208. Defendant acted with malice, oppression, and fraud.

          209. Plaintiff and members of the New York Class reasonably relied upon

Defendant’s knowing concealment and omissions as a reasonable consumer would.

As a direct and proximate result of Defendant’s omissions and active concealment

of material facts regarding the Water Pump Defect and associated safety risk,

Plaintiff and members of the Class have suffered actual damages in an amount to be

determined at trial.

VIII. PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated in the New York Class, respectfully requests that this Court enter judgment

against Defendant and in favor of Plaintiff and the Class, and award the following

relief:

             • An order certifying this action as a class action pursuant to Rule 23 of
               the Federal Rules of Civil Procedure, declaring Plaintiff as the
               representative of the New York Class, and Plaintiff’s counsel as counsel
               for the Class;

             • A declaration that Defendant is financially responsible for all Class
               notice and the administration of Class relief;

             • An order awarding costs, restitution, disgorgement, punitive damages,
               statutory damages, treble damages, and exemplary damages under
               applicable law, and compensatory damages for economic loss,


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             overpayment damages, cost of repair, diminished value, and/or out-of-
             pocket costs in an amount to be determined at trial;

          • An order awarding any applicable statutory and civil penalties;

          • An order requiring Defendant to pay both pre- and post-judgment
            interest on any amounts awarded;

          • An award of costs, expenses, and attorneys’ fees as permitted by law;
            and

          • Such other or further relief as the Court may deem appropriate, just, and
            equitable.

IX.   DEMAND FOR JURY TRIAL

      Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial

by jury of any and all issues in this action so triable of right.


Date: October 5, 2022                    /s/Samuel H. Rudman
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